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Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF PENNSYLVANIA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Metropolitan Steel Industries, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Steelco
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  601 Fritztown Road
                                  Sinking Spring, PA 19608
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Berks                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       http://www.msisteelco.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 1
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Debtor    Metropolitan Steel Industries, Inc.                                                           Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 3323

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                     Relationship
                                                  District                                 When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor   Metropolitan Steel Industries, Inc.                                                       Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                      page 3
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Debtor    Metropolitan Steel Industries, Inc.                                                      Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      August 3, 2016
                                                  MM / DD / YYYY


                             X   /s/ David Cool                                                           David Cool
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CFO




18. Signature of attorney    X   /s/ Charles J. Phillips, Esquire                                          Date August 3, 2016
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Charles J. Phillips, Esquire
                                 Printed name

                                 Leisawitz Heller Abramowitch Phillips, P.C.
                                 Firm name

                                 2755 Century Blvd.
                                 Wyomissing, PA 19610
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     610-372-3500                  Email address


                                 39260
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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 Fill in this information to identify the case:

 Debtor name         Metropolitan Steel Industries, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF PENNSYLVANIA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          August 3, 2016                          X /s/ David Cool
                                                                       Signature of individual signing on behalf of debtor

                                                                       David Cool
                                                                       Printed name

                                                                       CFO
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name            Metropolitan Steel Industries, Inc.

 United States Bankruptcy Court for the:                       EASTERN DISTRICT OF PENNSYLVANIA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $        3,177,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        2,010,106.43

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        5,187,106.43


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        7,299,804.26


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           768,371.07

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       13,124,064.35


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         21,192,239.68




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         Metropolitan Steel Industries, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF PENNSYLVANIA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Wells Fargo Bank Operating Acct # 1                     Checking                                                                   $350.79




           3.2.     Citizens Bank Operating Acct # 2                        Checking                                                                $10,153.33




           3.3.     Wells Fargo Bank Payroll Account                        Checking                                                                   $815.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                     $11,319.12
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor         Metropolitan Steel Industries, Inc.                                               Case number (If known)
                Name


        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                            136,776.90   -                                   0.00 = ....                $136,776.90
                                              face amount                           doubtful or uncollectible accounts




           11b. Over 90 days old:                            2,855,090.34    -                        2,855,090.34 =....                             $0.00
                                              face amount                           doubtful or uncollectible accounts



           11b. Over 90 days old:                            1,247,335.21    -                          623,667.61 =....                    $623,667.60
                                              face amount                           doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                             $760,444.50
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                   Net book value of         Valuation method used   Current value of
                                                                                 debtor's interest         for current value       debtor's interest
                                                                                 (Where available)

 39.       Office furniture

 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Rowe RCS printer; Computer monitor and
           software; Lenovo computer and monitor;
           Decorative light fixtures; 9 Dell desktops; 4
           Dell laptops; 3 American Express machines;
           Telephone system and additional telephones;                                    $52,076.03       Book value                        $52,076.03
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 2
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 Debtor         Metropolitan Steel Industries, Inc.                                           Case number (If known)
                Name




 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                           $52,076.03
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     2014 Dodge Ram 1500 VIN No.
                     3C6JR6DG0EG282686                                                 Unknown                                         $14,273.00


           47.2.     2014 Dodge Ram 1500 VIN No.
                     3C6JRDG1EG178563                                                  Unknown                                         $14,273.00


           47.3.     2014 Dodge Ram 1500 VIN
                     No.3C6JR6DG2EG282687                                              Unknown                                         $14,273.00


           47.4.     2016 Dodge Ram 1500 VIN No.
                     3C6JR6DG5GG109863                                                 Unknown                                         $24,499.00


           47.5.     2016 Dodge Ram 1500 VIN No.
                     3C6JR7DG7GG109966                                                 Unknown                                         $28,095.00


           47.6.     2016 Dodge Ram 1500 VIN No.
                     3C6JR7DG1GG121613                                                 Unknown                                         $28,095.00


           47.7.     2016 Dodge Ram 1500 VIN No.
                     3C6JR6DG4GG131692                                                 Unknown                                         $24,499.00


           47.8.     2015 Ford F-350 VIN No.
                     1FT8X3B66FEA61463                                                 Unknown                                         $19,726.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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 Debtor         Metropolitan Steel Industries, Inc.                                           Case number (If known)
                Name

 48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
            floating homes, personal watercraft, and fishing vessels

 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)
            See Attached List marked as Exhibit "1"                                $1,018,533.78       Book value                      $1,018,533.78



 51.        Total of Part 8.                                                                                                       $1,186,266.78
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
                No
               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and          Net book value of        Valuation method used   Current value of
            property                                      extent of           debtor's interest        for current value       debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. 601 Fritztown Road
                     Sinking Spring, PA
                     19608
                     Parcels Nos.
                     80437619603823 and
                     80437619608919                       Fee simple               $3,177,000.00       Book value                      $3,177,000.00




 56.        Total of Part 9.                                                                                                         $3,177,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
                No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 4
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 Debtor         Metropolitan Steel Industries, Inc.                                              Case number (If known)
                Name



        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                                  Net book value of       Valuation method used      Current value of
                                                                                 debtor's interest       for current value          debtor's interest
                                                                                 (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites
            www.msisteelco.com                                                              Unknown                                             Unknown



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                                      $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                                    Current value of
                                                                                                                                    debtor's interest


 71.        Notes receivable
            Description (include name of obligor)
            $100,000.00 Promissory Note owed                                  100,000.00 -                           100,000.00 =
            from Charles P. Farris                                      Total face amount     doubtful or uncollectible amount                        $0.00



 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                       page 5
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 Debtor         Metropolitan Steel Industries, Inc.                                          Case number (If known)
                Name

           every nature, including counterclaims of the debtor and rights to
           set off claims
           Possible litigation against David Markel, NY Union
           Employee                                                                                                             Unknown
           Nature of claim
           Amount requested                                               $0.00



 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                       $0.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                       page 6
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 Debtor          Metropolitan Steel Industries, Inc.                                                                 Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $11,319.12

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $760,444.50

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                          $52,076.03

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                  $1,186,266.78

 88. Real property. Copy line 56, Part 9.........................................................................................>                      $3,177,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                         $2,010,106.43            + 91b.            $3,177,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $5,187,106.43




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 7
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 Fill in this information to identify the case:

 Debtor name         Metropolitan Steel Industries, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF PENNSYLVANIA

 Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                      12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
           No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                     Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                 Amount of claim             Value of collateral
                                                                                                                                                 that supports this
                                                                                                                     Do not deduct the value     claim
                                                                                                                     of collateral.
 2.1   Ally Financial                                 Describe debtor's property that is subject to a lien                    $21,489.79                $14,273.00
       Creditor's Name                                2014 Dodge Ram 1500 VIN No.
                                                      3C6JR6DG0EG282686
       P.O. Box 380901
       Bloomington, MN 55438
       Creditor's mailing address                     Describe the lien
                                                      Auto Loan
                                                      Is the creditor an insider or related party?
                                                          No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
                                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.



 2.2   Ally Financial                                 Describe debtor's property that is subject to a lien                    $19,062.53                $14,273.00
       Creditor's Name                                2014 Dodge Ram 1500 VIN No.
                                                      3C6JRDG1EG178563
       P.O. Box 380901
       Bloomington, MN 55438
       Creditor's mailing address                     Describe the lien
                                                      Auto Loan
                                                      Is the creditor an insider or related party?
                                                          No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
                                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.



Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of 6
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 Debtor       Metropolitan Steel Industries, Inc.                                                       Case number (if know)
              Name



 2.3   Ally Financial                                 Describe debtor's property that is subject to a lien                      $21,489.79       $14,273.00
       Creditor's Name                                2014 Dodge Ram 1500 VIN
                                                      No.3C6JR6DG2EG282687
       P.O. Box 380901
       Bloomington, MN 55438
       Creditor's mailing address                     Describe the lien
                                                      Auto Loan
                                                      Is the creditor an insider or related party?
                                                          No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
                                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.



 2.4   Chrysler Capital                               Describe debtor's property that is subject to a lien                      $23,905.05       $24,499.00
       Creditor's Name                                2016 Dodge Ram 1500 VIN No.
                                                      3C6JR6DG5GG109863
       P.O. Box 961278
       Fort Worth, TX 76161-1278
       Creditor's mailing address                     Describe the lien
                                                      Auto Loan
                                                      Is the creditor an insider or related party?
       76161-1278                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
                                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.



 2.5   Chrysler Capital                               Describe debtor's property that is subject to a lien                           $0.00       $28,095.00
       Creditor's Name                                2016 Dodge Ram 1500 VIN No.
                                                      3C6JR7DG7GG109966
       P.O. Box 961278
       Fort Worth, TX 76161-1278
       Creditor's mailing address                     Describe the lien
                                                      Auto Loan
                                                      Is the creditor an insider or related party?
                                                          No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
                                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 2 of 6
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 Debtor       Metropolitan Steel Industries, Inc.                                                       Case number (if know)
              Name

           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.



 2.6   Chrysler Capital                               Describe debtor's property that is subject to a lien                      $30,354.89       $28,095.00
       Creditor's Name                                2016 Dodge Ram 1500 VIN No.
                                                      3C6JR7DG1GG121613
       P.O. Box 961278
       Fort Worth, TX 76161-1278
       Creditor's mailing address                     Describe the lien
                                                      Auto Loan
                                                      Is the creditor an insider or related party?
                                                          No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
                                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.



 2.7   Chrysler Capital                               Describe debtor's property that is subject to a lien                      $26,164.99       $24,499.00
       Creditor's Name                                2016 Dodge Ram 1500 VIN No.
                                                      3C6JR6DG4GG131692
       P.O. Box 961278
       Fort Worth, TX 76161-1278
       Creditor's mailing address                     Describe the lien
                                                      Auto Loan
                                                      Is the creditor an insider or related party?
                                                          No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
                                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.



       Commonwealth of
 2.8                                                                                                                            $13,078.24     $3,177,000.00
       Pennsylvania                                   Describe debtor's property that is subject to a lien
       Creditor's Name                                601 Fritztown Road
                                                      Sinking Spring, PA 19608
                                                      Parcels Nos. 80437619603823 and
                                                      80437619608919
       Dept. of Labor and Industry                    Parcels Nos. 80437619603823 and
       651 Boas Street                                80437619608919
       Harrisburg, PA 17121-0750
       Creditor's mailing address                     Describe the lien
                                                      Unemployement Compensation Fund
                                                      Judgment Lien


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 3 of 6
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 Debtor       Metropolitan Steel Industries, Inc.                                                       Case number (if know)
              Name

                                                      Is the creditor an insider or related party?
                                                          No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
       2015 - 4th Quarter                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1365
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.
       1. D. Michael Hartley and D.
       Kent Hartley
       2. First National Bank
       3. D. Michael Hartley
       4. D. Kent Hartley
       5. Commonwealth of
       Pennsylvania

 2.9   D. Kent Hartley                                Describe debtor's property that is subject to a lien                      $361,500.00     $5,008,054.31
       Creditor's Name                                601 Fritztown Road
                                                      Sinking Spring, PA 19608
                                                      Parcels Nos. 80437619603823 and
       150 Timberline Lane                            80437619608919
       Butler, PA 16001
       Creditor's mailing address                     Describe the lien
                                                      Fifth Mortgage and first lien security interest
                                                      in all assets
                                                      Is the creditor an insider or related party?
                                                          No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
       2016                                               Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       n/a
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.
       Specified on line 2.8

 2.1
 0     D. Michael Hartley                             Describe debtor's property that is subject to a lien                  $4,590,104.38       $5,008,054.31
       Creditor's Name                                601 Fritztown Road
                                                      Sinking Spring, PA 19608
                                                      Parcels Nos. 80437619603823 and
       26135 Fawnwood Court                           80437619608919
       Bonita Springs, FL 34134
       Creditor's mailing address                     Describe the lien
                                                      Fourth Mortgage and first lien security
                                                      interest in all assets
                                                      Is the creditor an insider or related party?
                                                          No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
       2016                                               Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 4 of 6
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 Debtor       Metropolitan Steel Industries, Inc.                                                       Case number (if know)
              Name

       n/a
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.
       Specified on line 2.8

 2.1   D. Michael Hartley and D.
 1     Kent Hartley                                   Describe debtor's property that is subject to a lien                  $1,176,911.69      $5,008,054.31
       Creditor's Name                                601 Fritztown Road
                                                      Sinking Spring, PA 19608
                                                      Parcels Nos. 80437619603823 and
       26135 Fawnwood Court                           80437619608919
       Bonita Springs, FL 34134
       Creditor's mailing address                     Describe the lien
                                                      First and Second Mortgagees and first lien
                                                      security interest in all assets
                                                      Is the creditor an insider or related party?
                                                          No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
       9/25/2015                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       n/a
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.
       Specified on line 2.8

 2.1
 2     First National Bank                            Describe debtor's property that is subject to a lien                           $0.00     $3,177,000.00
       Creditor's Name                                601 Fritztown Road
                                                      Sinking Spring, PA 19608
                                                      Parcels Nos. 80437619603823 and
       P.O. Box 31535                                 80437619608919
       Tampa, FL 33631
       Creditor's mailing address                     Describe the lien
                                                      Third Lien Accommodation Mortgage
                                                      Is the creditor an insider or related party?
                                                          No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
       2016                                               Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       Unknown
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.
       Specified on line 2.8

 2.1   Ford Motor Credit
 3     Company                                        Describe debtor's property that is subject to a lien                      $34,446.11       $19,726.00




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 5 of 6
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 Debtor       Metropolitan Steel Industries, Inc.                                                       Case number (if know)
              Name

        Creditor's Name                               2015 Ford F-350 VIN No.
                                                      1FT8X3B66FEA61463
        P.O. Box 17948
        Greenville, SC 29606
        Creditor's mailing address                    Describe the lien
                                                      Auto Loan
                                                      Is the creditor an insider or related party?
        29606                                             No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                            No
                                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                            Contingent
            Yes. Specify each creditor,                   Unliquidated
        including this creditor and its relative          Disputed
        priority.



 2.1
 4      Internal Revenue Service                      Describe debtor's property that is subject to a lien                      $981,296.80                $0.00
        Creditor's Name                               940 and 941 Taxes
        1720 Hempstead Road
        P.O. Box 10128
        Lancaster, PA 17605
        Creditor's mailing address                    Describe the lien
                                                      Statutory Lien
                                                      Is the creditor an insider or related party?
                                                          No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                            No
        3/2015 to 3/2016                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        4683
        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                            Contingent
            Yes. Specify each creditor,                   Unliquidated
        including this creditor and its relative          Disputed
        priority.



                                                                                                                                $7,299,804.2
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                          6

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 6 of 6
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 Fill in this information to identify the case:

 Debtor name         Metropolitan Steel Industries, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF PENNSYLVANIA

 Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

              No. Go to Part 2.

              Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                     $22,645.08          $22,645.08
           Berks EIT Bureau                                          Check all that apply.
           1125 Berkshire Blvd.                                          Contingent
           Suite 115                                                     Unliquidated
           Wyomissing, PA 19610                                          Disputed

           Date or dates debt was incurred                           Basis for the claim:
           11/2015 through 6/2016                                    Taxes - Local Earned Income Tax

           Last 4 digits of account number 4683                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                    $547,254.20          $547,254.20
           Internal Revenue Service                                  Check all that apply.
                                                                         Contingent
           Cincinnati, OH 45999                                          Unliquidated
                                                                         Disputed

           Date or dates debt was incurred                           Basis for the claim:
           12/2015 to 6/2016                                         941 Taxes

           Last 4 digits of account number 4683                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes


 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                     $19,893.49          $19,893.49
           NJ Dept. of Taxation                                      Check all that apply.
           2 Riverside Drive                                             Contingent
           Suite 632                                                     Unliquidated
           Camden, NJ 08103                                              Disputed

           Date or dates debt was incurred                           Basis for the claim:
           11/2015 through 6/2016                                    Taxes - Employee Withholding

           Last 4 digits of account number 4683                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes


Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 26
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 Debtor       Metropolitan Steel Industries, Inc.                                                             Case number (if known)
              Name


 2.4       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $70,737.39    $70,737.39
           NYS Dept. of Taxation                                     Check all that apply.
           W.A. Harriman Campus                                          Contingent
           Albany, NY 12227                                              Unliquidated
                                                                         Disputed

           Date or dates debt was incurred                           Basis for the claim:
           11/2015 through 6/2016                                    Taxes - Employee Withholding

           Last 4 digits of account number 4683                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes


 2.5       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $68,677.74    $68,677.74
           PA Department of Revenue                                  Check all that apply.
           1 Revenue Place                                               Contingent
           Harrisburg, PA 17108                                          Unliquidated
                                                                         Disputed

           Date or dates debt was incurred                           Basis for the claim:
           11/2015 through 6/2016                                    Taxes - Employee Withholding

           Last 4 digits of account number 4683                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes


 2.6       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $39,163.17    $39,163.17
           Wilson School District                                    Check all that apply.
           P.O. Box 7625                                                 Contingent
           Lancaster, PA 17604                                           Unliquidated
                                                                         Disputed

           Date or dates debt was incurred                           Basis for the claim:
           7/2016                                                    Taxes - School/Real Estate Taxes

           Last 4 digits of account number unknown                   Is the claim subject to offset?

           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $1,512.93
           A.C. Coronato Corporation                                                    Contingent
           P.O. Box 506                                                                 Unliquidated
           Lyndhurst, NJ 07071                                                          Disputed
           Date(s) debt was incurred 2014/2015                                     Basis for the claim:     Transport of Products
           Last 4 digits of account number unknown                                 Is the claim subject to offset?      No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.              $47,516.25
           Acme Metals Co.                                                              Contingent
           3000 Grand Ave #1                                                            Unliquidated
           Pittsburgh, PA 15225                                                         Disputed
           Date(s) debt was incurred  2014/2015                                    Basis for the claim:     Steel Suppler
           Last 4 digits of account number unknown                                 Is the claim subject to offset?      No       Yes




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 Debtor       Metropolitan Steel Industries, Inc.                                                     Case number (if known)
              Name

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,833.07
          Advanced Business Equipment                                            Contingent
          1129 Union Blvd.                                                       Unliquidated
          Allentown, PA 18109                                                    Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Copier Monthly Leasing Agreement
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $46,289.85
          Airgas East
          732 Tulpehocket Street                                                 Contingent
          Attn: Jack Bordonaro                                                   Unliquidated
          Reading, PA 19601                                                      Disputed

          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Shop Supplier
          Last 4 digits of account number unknown                            Is the claim subject to offset?      No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $14,669.28
          All Steel Service Inc.                                                 Contingent
          305 W. Washington Street                                               Unliquidated
          Allentown, PA 18102                                                    Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Steel Suppler
          Last 4 digits of account number unknown                            Is the claim subject to offset?      No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,957.04
          Ally                                                                   Contingent
          P.O. Box 9001948                                                       Unliquidated
          Louisville, KY 40290                                                   Disputed
          Date(s) debt was incurred  2014/2015                               Basis for the claim:    Steel Supplier
          Last 4 digits of account number unknown                            Is the claim subject to offset?      No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,000.00
          American Crane & Equip. Corp                                           Contingent
          531 Old Swede Road                                                     Unliquidated
          Douglassville, PA 19518                                                Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Crane Training company
          Last 4 digits of account number n/a                                Is the claim subject to offset?      No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          American Express Travel Related Services
          c/o Michael Hoefs, Esquire
          Jaffe & Asher LLP                                                      Contingent
          600 Third Avenue                                                       Unliquidated
          New York, NY 10016                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Potential Claim arising from civil suit
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $307.80
          American Inst. of Steel Construction
          c/o Legacy Professionals LLP
          Dept 978763                                                            Contingent
          P.O. Box 8763                                                          Unliquidated
          Carol Stream, IL 60197-8763                                            Disputed

          Date(s) debt was incurred 2015                                     Basis for the claim:    Professional Organization
          Last 4 digits of account number n/a                                Is the claim subject to offset?      No       Yes




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 Debtor       Metropolitan Steel Industries, Inc.                                                     Case number (if known)
              Name

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $365,000.00
          American Stair Corporation                                             Contingent
          642 Forestwood Drive                                                   Unliquidated
          Romeoville, IL 60446-1354                                              Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Stair Fabricator
          Last 4 digits of account number unknown                            Is the claim subject to offset?      No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,386.00
          American Vending Services, Inc.
          405 Keystone Blvd.                                                     Contingent
          BLDG 4-A                                                               Unliquidated
          Pottstown, PA 19464                                                    Disputed

          Date(s) debt was incurred 2015                                     Basis for the claim:    Vending Machine Services
          Last 4 digits of account number n/a                                Is the claim subject to offset?      No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $81,083.22
          Amquip Crane Rental LLC                                                Contingent
          P.O. Box 782945                                                        Unliquidated
          Philadelphia, PA 19178                                                 Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Crane Rental
          Last 4 digits of account number unkown                             Is the claim subject to offset?      No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $64,040.00
          Axis Steel Detailing Inc.                                              Contingent
          P.O. Box 826                                                           Unliquidated
          Orem, UT 84059                                                         Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Shop Detailer
          Last 4 digits of account number unkown                             Is the claim subject to offset?      No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $25.06
          BACO Enterprises, Inc.                                                 Contingent
          1190 Longwood Avenue                                                   Unliquidated
          Bronx, NY 10474                                                        Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Shop Supplier
          Last 4 digits of account number unkown                             Is the claim subject to offset?      No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $88,092.50
          Bay Crane Jersey                                                       Contingent
          316 Patterson Plank Road                                               Unliquidated
          East Rutherford, NJ 07073                                              Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Provided Crane Services
          Last 4 digits of account number unkown                             Is the claim subject to offset?      No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $117,030.28
          Bay Crane Service Inc.                                                 Contingent
          11-02 43rd Avenue                                                      Unliquidated
          Long Island City, NY 11101                                             Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Provided Crane Services
          Last 4 digits of account number unkown                             Is the claim subject to offset?      No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $493.39
          Berks and Beyond Employment Svc.                                       Contingent
          926 Penn Ave                                                           Unliquidated
          Reading, PA 19610                                                      Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Temp Employment Services
          Last 4 digits of account number nAve                               Is the claim subject to offset?      No       Yes




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 Debtor       Metropolitan Steel Industries, Inc.                                                     Case number (if known)
              Name

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,132.77
          Berks Products Corporation
          Customer Acct Processing                                               Contingent
          167 Berks Products Drive                                               Unliquidated
          Leesport, PA 19533                                                     Disputed

          Date(s) debt was incurred 2015                                     Basis for the claim:    Door Company
          Last 4 digits of account number nAve                               Is the claim subject to offset?      No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $303.27
          Bernville Quality Fuels Inc.                                           Contingent
          330 Blair Avenue                                                       Unliquidated
          Reading, PA 19601                                                      Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Provided Fuel
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,548.00
          BIC-Berkley Fire & Marine                                              Contingent
          P.O. Box 204627                                                        Unliquidated
          Dallas, TX 75320-4627                                                  Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Crane Insurance
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $22,966.62
          Birmingham Fastener, Inc.                                              Contingent
          P.O. Box 10323                                                         Unliquidated
          Birmingham, AL 35202                                                   Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Fastner Supplier
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $10,460.67
          Blue Moose Tube                                                        Contingent
          1519 Clarkson Road                                                     Unliquidated
          Chesterfield, MO 63017                                                 Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Supplier
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $84,420.52
          Blueline Rental LLC                                                    Contingent
          P.O. Box 840062                                                        Unliquidated
          Dallas, TX 75284-0062                                                  Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Equipment Rental
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $65,977.99
          Bushwick Metals LLC                                                    Contingent
          P.O. Box 414860                                                        Unliquidated
          Boston, MA 02241-4860                                                  Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Steel Supplier
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $326.48
          Cartridge World                                                        Contingent
          4748 Penn Avenue                                                       Unliquidated
          Reading, PA 19608                                                      Disputed
          Date(s) debt was incurred      2015                                Basis for the claim:    Printer Ink Supplier
          Last 4 digits of account number       Unknown                      Is the claim subject to offset?      No       Yes




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 Debtor       Metropolitan Steel Industries, Inc.                                                     Case number (if known)
              Name

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $293,406.00
          Central Metals, Inc.                                                   Contingent
          1054 South 2nd Street                                                  Unliquidated
          Camden, NJ 08103                                                       Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Sub-Contractor - Erector
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $151,109.21
          Certified Steel Co. Inc.                                               Contingent
          1333 Brunswick Pike, Suite 200                                         Unliquidated
          Lawrence Township, NJ 08648                                            Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Steel Suppler
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $21,250.71
          Chapel Steel Company
          P.O. Box 8500                                                          Contingent
          Box 4106                                                               Unliquidated
          Philadelphia, PA 19178-4106                                            Disputed

          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Steel Suppler
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,566.68
          Choice Communications                                                  Contingent
          370 West main Avenue                                                   Unliquidated
          Myerstown, PA 17067                                                    Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Telephone Services
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Christopher and Elizabeth Caral
          c/o Ari R. Karpf, Esquire
          3331 Street Rd.                                                        Contingent
          Two Greenwood Square, Suite 128                                        Unliquidated
          Bensalem, PA 19020                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Potential Claim arising from civil suit
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,887.45
          Chrysler Capital                                                       Contingent
          P.O. Box 660335                                                        Unliquidated
          Dallas, TX 75266-0335                                                  Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Financing company for truck (surrender)
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          CIA Company                                                            Contingent
          Attn: Ryan L. Luggen                                                   Unliquidated
          Date(s) debt was incurred                                              Disputed

          Last 4 digits of account number                                    Basis for the claim:
                                                                             Is the claim subject to offset?      No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $616.88
          Cintas Corporation LOC 101                                             Contingent
          P.O. Box 636165                                                        Unliquidated
          Cincinnati, OH 45263-0803                                              Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Cintas
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

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 Debtor       Metropolitan Steel Industries, Inc.                                                     Case number (if known)
              Name


 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,000.00
          Cintas Fire Protection                                                 Contingent
          P.O. Box 636525                                                        Unliquidated
          Cincinnati, OH 45263-5250                                              Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Fire Extinguishers
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $36,950.00
          CNA Insurance                                                          Contingent
          100 Matsonford Rd                                                      Unliquidated
          Wayne, PA 19087                                                        Disputed
          Date(s) debt was incurred      2014/2015                           Basis for the claim:    Workers Comp. Insurance
          Last 4 digits of account number    dnor,9087                       Is the claim subject to offset?      No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,272.91
          Colonial Electric Supply Co.                                           Contingent
          P.O. Box 414564                                                        Unliquidated
          Boston, MA 02241-4564                                                  Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Electric Supplier
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,637.88
          Control Associates & Mfg LLC                                           Contingent
          1452 Woodlot Road                                                      Unliquidated
          Manheim, PA 17545                                                      Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Provided Labor/Parts
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,204.00
          Copeland Surveying, Inc.                                               Contingent
          707 Whitehorse Pike, Suite B-3                                         Unliquidated
          Absecon, NJ 08201                                                      Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Surveyor
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $272.50
          CPA Technology
          101 W. Elm Street                                                      Contingent
          Suite 500                                                              Unliquidated
          Conshohocken, PA 19428                                                 Disputed

          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Accounting Software
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $49,820.00
          Cresco Lines, Inc.                                                     Contingent
          15220 S. Halsted Street                                                Unliquidated
          Harvey, IL 60426                                                       Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Transport of Products
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $296.00
          CT Corporation                                                         Contingent
          P.O. Box 4349                                                          Unliquidated
          Carol Stream, IL 60197-4349                                            Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Supplier
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes



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 Debtor       Metropolitan Steel Industries, Inc.                                                     Case number (if known)
              Name

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,091.00
          Custom Welding, Inc.                                                   Contingent
          847 State Route 12                                                     Unliquidated
          Frenchtown, NJ 08825                                                   Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Shop Supplier
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $1,240,000.00
          D. Kent Hartley                                                        Contingent
          150 Timberline Lane                                                    Unliquidated
          Butler, PA 16001                                                       Disputed
          Date(s) debt was incurred      11/7/2014 to 2/24/2016              Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $1,315,000.00
          D. Michael Hartley                                                     Contingent
          26135 Fawnwood Court                                                   Unliquidated
          Bonita Springs, FL 34134                                               Disputed
          Date(s) debt was incurred 11/7/2014 to 2/24/2016                   Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $16,605.54
          Diesel Service, Inc.                                                   Contingent
          150 Lehigh Street                                                      Unliquidated
          Reading, PA 19601                                                      Disputed
          Date(s) debt was incurred      2014/2015                           Basis for the claim:    Repairs to Diesel Engines
          Last 4 digits of account number    Unknown                         Is the claim subject to offset?      No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $11,541.60
          Dillon McCandless Ling Coulter                                         Contingent
          128 West Cunningham Street                                             Unliquidated
          Butler, PA 16001                                                       Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Attorneys at Law - Provided Legal Services
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $70,841.10
          Discount Metal Inc.                                                    Contingent
          29110 Anderson Road                                                    Unliquidated
          Wickliffe, OH 44092                                                    Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Steel Supplier
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $557.57
          Doyle Structural Solutions, LLC                                        Contingent
          1140 N. Fifth Street                                                   Unliquidated
          Stroudsburg, PA 18360                                                  Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Shop Supplier
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $22,827.77
          DRM Associates Inc                                                     Contingent
          4334 Hanover Pike                                                      Unliquidated
          Manchester, MD 21102                                                   Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Supplier
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes




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 Debtor       Metropolitan Steel Industries, Inc.                                                     Case number (if known)
              Name

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $16,182.00
          Durrett Sheppard Steel                                                 Contingent
          P.O. Box 758656                                                        Unliquidated
          Baltimore, MD 21275-8656                                               Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Steel Supplier
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $31.00
          E-ZPass
          NJ E-ZPass
          Violations Processing Center                                           Contingent
          P.O. Box 4971                                                          Unliquidated
          Trenton, NJ 08650                                                      Disputed

          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Tolls
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          E.W. Howell Co., LLC
          245 Newtown Rd.                                                        Contingent
          Suite 600                                                              Unliquidated
          Plainview, NY 11803                                                    Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Poetntial claim arising from civil suit
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,013.47
          Elizabethtown Gas                                                      Contingent
          P.O. Box 5412                                                          Unliquidated
          Carol Stream, IL 60197-5412                                            Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Gas utilities
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $199.68
          ERICO                                                                  Contingent
          3138 Paysphere Circle                                                  Unliquidated
          Chicago, IL 60674                                                      Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Steel Supplier
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,002.15
          EW Wylie Corporation                                                   Contingent
          Rend 7252 Southern Center                                              Unliquidated
          Chicago, IL 60677-7002                                                 Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Shop Supplier
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $16,638.53
          Fastenal Company                                                       Contingent
          P.O. Box 1286                                                          Unliquidated
          Winona, MN 55987-1286                                                  Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Fastner Supplier
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $11.00
          Fed Ex                                                                 Contingent
          P.O. Box 371461                                                        Unliquidated
          Pittsburgh, PA 15250-7461                                              Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Delivery Charges
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

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 Debtor       Metropolitan Steel Industries, Inc.                                                     Case number (if known)
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 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,500.00
          First National Bank                                                    Contingent
          P.O. Box 31535                                                         Unliquidated
          Tampa, FL 33631                                                        Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Credit Card
          Last 4 digits of account number       Unknown                      Is the claim subject to offset?      No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,596.25
          Fisher's Rental                                                        Contingent
          2698 Bernville Road                                                    Unliquidated
          Winona, MN 55987-1286                                                  Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Rental Equipment
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $897.58
          Ford Credit                                                            Contingent
          Box 220564                                                             Unliquidated
          Pittsburgh, PA 15257-2564                                              Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Truck Financing
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,600.00
          Freightquote.com, Inc.                                                 Contingent
          901 West Carondelt Drive                                               Unliquidated
          Kansas City, MO 64114                                                  Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Transport of Products
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $197,101.46
          Frontier Steel Co.                                                     Contingent
          P.O. Box 71431                                                         Unliquidated
          Chicago, IL 60694                                                      Disputed
          Date(s) debt was incurred  2014/2015                               Basis for the claim:    Steel Supplier
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $786.89
          George Hill Systems                                                    Contingent
          573 Fancy Hill Road                                                    Unliquidated
          Boyertown, PA 19512                                                    Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Stationary Supplier
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $20,089.32
          Global Steel Detailing
          AV. De Los Shyris 3110 Y Pasaje Eiffel                                 Contingent
          Office 203                                                             Unliquidated
          Quito-Ecuador                                                          Disputed

          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Detailer
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,817.29
          Grainer Inc.                                                           Contingent
          Dept 827725920                                                         Unliquidated
          Palatine, IL 60038-0010                                                Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Shop Supplier
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes



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 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $44,281.00
          Greiner Industries Inc.                                                Contingent
          1650 Steel Way                                                         Unliquidated
          Mount Joy, PA 17552                                                    Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Supplier
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $395.92
          H.R. Direct                                                            Contingent
          PO Box 668220                                                          Unliquidated
          Pompano Beach, FL 33066-8220                                           Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Poster Supplier
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,415.00
          Harris-Camden Term Equip, Inc.                                         Contingent
          2201 mt. Ephraim Avenue                                                Unliquidated
          Camden, NJ 08104                                                       Disputed
          Date(s) debt was incurred Trucker                                  Basis for the claim:    Transport of Products
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $16,077.91
          Haydon Bolts Inc.                                                      Contingent
          1181 Unity Street                                                      Unliquidated
          Philadelphia, PA 19124-3196                                            Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Bolt Supplier
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,670.77
          Health America                                                         Contingent
          P.O. Box 6506                                                          Unliquidated
          Carol Stream, IL 60197-6506                                            Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Health Insurer
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $235,136.00
          Herbein & Co. Inc.                                                     Contingent
          2763 Century Blvd.                                                     Unliquidated
          Wyomissing, PA 19610                                                   Disputed
          Date(s) debt was incurred 2014/2015/2016                           Basis for the claim:    Accounting Services
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,482.33
          HILTI Inc.                                                             Contingent
          P.O. Box 382002                                                        Unliquidated
          Pittsburgh, PA 15250-8002                                              Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Connector Supplier
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $355,482.43
          HR Evans Steel Co.
          Bldg N. Unit #2                                                        Contingent
          755 Boardman Canfield Road                                             Unliquidated
          Youngstown, OH 44512                                                   Disputed

          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Steel Supplier
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes




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 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $22,549.82
          IMAGEZE, Inc.                                                          Contingent
          P.O. Box 151                                                           Unliquidated
          Reading, PA 19603                                                      Disputed
          Date(s) debt was incurred      2014/2015                           Basis for the claim:    Internet
          Last 4 digits of account number    Unknown                         Is the claim subject to offset?      No       Yes

 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $554,333.57
          Infra-Metals Co.                                                       Contingent
          P.O. Box 409828                                                        Unliquidated
          Atlanta, GA 30384                                                      Disputed
          Date(s) debt was incurred      2014/2015                           Basis for the claim:    Steel Supplier
          Last 4 digits of account number    Unknown                         Is the claim subject to offset?      No       Yes

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,370.00
          J Grady Randolph Inc.                                                  Contingent
          P.O. Box 2128                                                          Unliquidated
          Gaffney, SC 29342                                                      Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Transport of Products
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,410.90
          Jessi G's Enterprises, Inc.                                            Contingent
          1542 Philadelphia Street                                               Unliquidated
          Indiana, PA 15701                                                      Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Transport of Products
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $14,500.00
          John F. Eberth Associated, Inc.                                        Contingent
          81 West Lake Shore Drive                                               Unliquidated
          Rockaway, NJ 07866                                                     Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Supplier
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $327.85
          JV Warehouse Solutions                                                 Contingent
          P.O. Box 3339                                                          Unliquidated
          Fullerton, CA 92834-3339                                               Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Shop Supplier
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,550.00
          Kelly Springfield Trucking
          1300 Lower Road                                                        Contingent
          P.O. Box 4066                                                          Unliquidated
          Linden, NJ 07036                                                       Disputed

          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Tires
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $1,203,736.15
          Kenvil United Corp                                                     Contingent
          P.O. Box 32                                                            Unliquidated
          Wharton, NJ 07885                                                      Disputed
          Date(s) debt was incurred      2014/2015                           Basis for the claim:    Erector Supplies
          Last 4 digits of account number    Unknown                         Is the claim subject to offset?      No       Yes




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 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $876.00
          L.W. Martin Truck Repair                                               Contingent
          152 W. Church Road                                                     Unliquidated
          Lititz, PA 17543                                                       Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Truck repairs
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,577.00
          Lamont Hanley & Associates, Inc.                                       Contingent
          Corp. Headquarters                                                     Unliquidated
          1138 Elm Street                                                        Disputed
          Manchester, NH 03101                                               Basis for the claim:    Collection Agency -General Liability for year end
          Date(s) debt was incurred 2014/2015                                audit
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $18,525.50
          Lancaster Foundry Supply Co.                                           Contingent
          2314 Norman Road                                                       Unliquidated
          Lancaster, PA 17601                                                    Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Shop Supplies
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $650.53
          Lenovo Financial Services                                              Contingent
          21146 Network Place                                                    Unliquidated
          Chicago, IL 60673-1211                                                 Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Computers
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $49,720.00
          Liedtka Logistics LLC                                                  Contingent
          One PGT Way                                                            Unliquidated
          Monaca, PA 15061                                                       Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Transport of Products
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,731.37
          LNP Media Group, Inc.                                                  Contingent
          P.O. Box 3999                                                          Unliquidated
          Lancaster, PA 17604-3999                                               Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Employee Ads
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $45,368.45
          Local 11                                                               Contingent
          12 Edison Place                                                        Unliquidated
          Springfield, NJ 07081                                                  Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Union Dues
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $45,368.45
          Local 14-14B Fund Office                                               Contingent
          141-57 Northern Blvd                                                   Unliquidated
          Flushing, NY 11354                                                     Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Union Dues
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes




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 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $11,991.45
          Local 15                                                               Contingent
          44-10 11th Street                                                      Unliquidated
          Long Island City, NY 11101                                             Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Union Dues
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,128.55
          Local 18                                                               Contingent
          35-30 Francis Lewis Blvd.                                              Unliquidated
          Flushing, NY 11358                                                     Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Union Dues
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $228,257.67
          Local 40, 361 & 417                                                    Contingent
          451 Park Avenue South 9th Floor                                        Unliquidated
          New York, NY 10016                                                     Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Union Dues
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $54,267.24
          Local 542                                                              Contingent
          1375 Virginia Drive                                                    Unliquidated
          Fort Washington, PA 19034                                              Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Union Dues
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,990.80
          Local 580                                                              Contingent
          501 W. 42nd Street                                                     Unliquidated
          New York, NY 10063                                                     Disputed
          Date(s) debt was incurred      2014/2015                           Basis for the claim:    Union dues
          Last 4 digits of account number    Unknown                         Is the claim subject to offset?      No       Yes

 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,289.04
          Local 825
          65 Springfield Avenue                                                  Contingent
          2nd Floor                                                              Unliquidated
          Springfield, NJ 07081                                                  Disputed

          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Union Dues
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $50.00
          Loomis Company- PCW                                                    Contingent
          850 N Park Rd,                                                         Unliquidated
          Wyomissing, PA 19610                                                   Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Insurance Broker
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,751.78
          Lowes Business Account/GECF                                            Contingent
          P.O. Box 530970                                                        Unliquidated
          Atlanta, GA 30353-0970                                                 Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    hardward supplies - credit card
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes




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 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $61,270.00
          LTC Inc.                                                               Contingent
          1115 Inidustrial Drive                                                 Unliquidated
          West Salem, WI 54669                                                   Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Retailer
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $41,240.00
          Lynchburg Freight & Spec. LLC                                          Contingent
          2940 Fulks Street                                                      Unliquidated
          Lynchburg, VA 24501                                                    Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Transport of Products
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,935.00
          Macintosh Engineering
          2 Mill Road                                                            Contingent
          Suite 100                                                              Unliquidated
          Wilmington, DE 19806                                                   Disputed

          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Engineer related work
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $456.73
          Mack Employment Services, Inc.                                         Contingent
          2834 Shillington Road RT 724                                           Unliquidated
          Reading, PA 19608                                                      Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Employment Services
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $307.77
          Marlin Business Bank                                                   Contingent
          P.O. Box 13604                                                         Unliquidated
          Philadelphia, PA 19101-3604                                            Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Copy Machine Bank
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,827.77
          MassMutual Financial Group                                             Contingent
          306 Kricks Mill Road                                                   Unliquidated
          Robesonia, PA 19551                                                    Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Life Insurance preimum for Leslie Hynes
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $747.76
          McMaster-Carr Supply Co.                                               Contingent
          P.O. Box 7690                                                          Unliquidated
          Chicago, IL 60680-7690                                                 Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Shop Supplier
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $412,141.11
          Metals USA Plates & Shapes                                             Contingent
          P.O. Box 827110                                                        Unliquidated
          Philadelphia, PA 19182                                                 Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Steel Supplier
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes




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 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $132,944.02
          Michelman-Cancelliere Iron Works, Inc.                                 Contingent
          7230 Beth-Bath Pike                                                    Unliquidated
          Bath, PA 18014                                                         Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Steel Fabricator
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $906.30
          Mike Sweigart Landscaping                                              Contingent
          306 Kricks Mill Road                                                   Unliquidated
          Robesonia, PA 19551                                                    Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Landscaper
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $855.42
          Modular Space Corporation                                              Contingent
          12603 Collections Center Drive                                         Unliquidated
          Chicago, IL 60693-0126                                                 Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Trailer Rental
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $28,665.00
          Motco Logistics LLC                                                    Contingent
          6547 Hollenbach Road                                                   Unliquidated
          New Tripoli, PA 18066                                                  Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Transport of Products
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,750.00
          Moyer Transport LLC                                                    Contingent
          6547 Hollenbach Road                                                   Unliquidated
          New Tripoli, PA 18066                                                  Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Transport of Products
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,247.22
          MSC Industrial Supply Co. Inc.                                         Contingent
          Dept CH 0075                                                           Unliquidated
          Palatine, IL 60055-0075                                                Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Shop Supplier
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,465.69
          New Jersey Galv & Tinning                                              Contingent
          139 Haynes Avenue                                                      Unliquidated
          Newark, NJ 07114-2286                                                  Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Galvanized Tin.
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $390,098.20
          Nitterhouse Concrete                                                   Contingent
          P.O. Box 2013                                                          Unliquidated
          Chambersburg, PA 17201                                                 Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Brickhouse panel supplier
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes




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 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,791.55
          Nobel Equipment & Supply Co., Inc.                                     Contingent
          1920 U.S. HWY #1                                                       Unliquidated
          Linden, NJ 07036                                                       Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Equipment Rental
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,172.01
          Northeast Gas Servics, Inc.                                            Contingent
          27 McDermott Place                                                     Unliquidated
          Bergenfield, NJ 07621                                                  Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Fuel Energy
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $21,614.00
          Northern Monmouth Regional Surgery Cent.
          195 Route 9 South                                                      Contingent
          Suite 210                                                              Unliquidated
          Englishtown, NJ 07726                                                  Disputed

          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Worker's Comp Medical bills for sub-contractor
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $60.00
          NYC Department of Finance
          Parking Violations
          Church Street Station                                                  Contingent
          P.O. Box 3600                                                          Unliquidated
          New York, NY 10008                                                     Disputed

          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Parking Tickets
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,230.45
          NYSTROM
          NW 7845                                                                Contingent
          P.O. Box 1450                                                          Unliquidated
          Minneapolis, MN 55485-7845                                             Disputed

          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Supplier of Steel Thread
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $69,331.00
          Omega Steel Products, Inc.
          P.O. Box 849                                                           Contingent
          1147 County Road 48                                                    Unliquidated
          Jemison, AL 35085                                                      Disputed

          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Steel Fabrication
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $1,575,666.48
          Owens Steel Company Inc.                                               Contingent
          727 Mauney Drive                                                       Unliquidated
          Columbia, SC 29201                                                     Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Steel Fabricator
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes




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 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $419.50
          PA Turnpike
          Toll By Plate                                                          Contingent
          8000C Derry Street                                                     Unliquidated
          Harrisburg, PA 17111                                                   Disputed

          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Tolls
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $92.47
          Penteledata                                                            Contingent
          P.O. Box 401                                                           Unliquidated
          Palmerton, PA 18071                                                    Disputed
          Date(s) debt was incurred      2014/2015                           Basis for the claim:    Cable NJ Office
          Last 4 digits of account number    Unknown                         Is the claim subject to offset?      No       Yes

 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $74,256.75
          PGT Trucking, Inc                                                      Contingent
          One PGT Way                                                            Unliquidated
          Monaca, PA 15061                                                       Disputed
          Date(s) debt was incurred  2014/2015                               Basis for the claim:    Transport of Products
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $224.46
          Philadelphia Ball                                                      Contingent
          P.O. Box 37015                                                         Unliquidated
          Philadelphia, PA 19122-0715                                            Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Shop Parts
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $36,669.23
          Praxair Dist. Mid-Atlantic                                             Contingent
          P.O. Box 382000                                                        Unliquidated
          Pittsburgh, PA 15250-8000                                              Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Shop Parts supplies
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,454.00
          Premier Trailer Leasing
          401 E. Corporate Drive                                                 Contingent
          Suite 252                                                              Unliquidated
          Lewisville, TX 75057                                                   Disputed

          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Trailer Leasing
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $603.56
          Print-O-Stat, Inc.                                                     Contingent
          P.O. Box 15055                                                         Unliquidated
          York, PA 17405-7046                                                    Disputed
          Date(s) debt was incurred      2014/2015                           Basis for the claim:    Check Printing
          Last 4 digits of account number    Unknown                         Is the claim subject to offset?      No       Yes

 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $63,000.00
          Quinco Contracting & Maint. Inc.                                       Contingent
          842 Arrowhead Lane                                                     Unliquidated
          Harleysville, PA 19438                                                 Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Erector
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes



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 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,572.50
          R&F Excavating Co. Inc.                                                Contingent
          821 Mountain Home Rd                                                   Unliquidated
          Sinking Spring, PA 19608                                               Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Snow Removal
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,036.90
          R&R Wood Products, Inc.                                                Contingent
          P.O. Box 51065                                                         Unliquidated
          Mainland, PA 19451                                                     Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Wood Blocking supply
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,537.28
          Reading Crane and Engineering                                          Contingent
          11 Vanguard Drive                                                      Unliquidated
          Reading, PA 19606                                                      Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Crane Repairs
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,774.20
          Reading Eagle Company                                                  Contingent
          P.O. Box 582                                                           Unliquidated
          Reading, PA 19603-0582                                                 Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Advertising
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,433.75
          Reading Electrical                                                     Contingent
          80 Witman Road                                                         Unliquidated
          Reading, PA 19605                                                      Disputed
          Date(s) debt was incurred      2014/2015                           Basis for the claim:    Electrical Supplies
          Last 4 digits of account number    Unknown                         Is the claim subject to offset?      No       Yes

 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $319.00
          Reading Hospital & Medical Center
          Occupational Health                                                    Contingent
          1000 Tuckerton Court                                                   Unliquidated
          Reading, PA 19605                                                      Disputed

          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Drug Testing
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,438.15
          RED-D-ARC, Inc.                                                        Contingent
          1513 S. Washington Avenue                                              Unliquidated
          Piscataway, NJ 08854-3815                                              Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Welding Supplies
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,392.46
          Riverside Auto & Equipment
          Sales, LLC & Towing Service                                            Contingent
          434 T. Bishiop Road                                                    Unliquidated
          Jonesville, SC 29353                                                   Disputed

          Date(s) debt was incurred Unknown                                  Basis for the claim:    Repairs to Auto
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes



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 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,405.03
          Robert Half Finance & Account                                          Contingent
          P.O. Box 743295                                                        Unliquidated
          Los Angeles, CA 90074                                                  Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Employment Personel Fee
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Robert Weyrauch
          c/o Sacks & Sacks LLP                                                  Contingent
          150 Broadway, 4th Floor                                                Unliquidated
          New York, NY 10038                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Potential claim arising from civil suit
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $47,730.61
          Ronstand Rods                                                          Contingent
          45 High Point Avenue, Suite 2                                          Unliquidated
          Portsmouth, RI 02871                                                   Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Rod Supplier
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,423.17
          Saw Service & Supply, Inc.                                             Contingent
          11925 Zelis Road                                                       Unliquidated
          Cleveland, OH 44135                                                    Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Saw blade supplier
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $29.45
          Sherwin-Williams                                                       Contingent
          1620 North 3rd Street                                                  Unliquidated
          Reading, PA 19601                                                      Disputed
          Date(s) debt was incurred Unknown                                  Basis for the claim:    paint
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $40,000.00
          Sideplate Systems, Inc.                                                Contingent
          25909 Pala Suite 200                                                   Unliquidated
          Mission Viejo, CA 92691                                                Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Licensing Fees
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,441.52
          Solve it Solutions, LLC                                                Contingent
          711 Spring Street, Sute 101                                            Unliquidated
          Reading, PA 19610                                                      Disputed
          Date(s) debt was incurred 2015                                     Basis for the claim:    I.T. Support
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $79.04
          Staples Advantage
          Dept PHL                                                               Contingent
          P.O. Box 415256                                                        Unliquidated
          Boston, MA 02241-5256                                                  Disputed

          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Credit Card - Office Supplies
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes



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 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $263,479.05
          Steel Dynamics Structural Div.                                         Contingent
          36260 Treasury Center                                                  Unliquidated
          Chicago, IL 60669-4000                                                 Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Steel Suppler
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Stephen J. Hynes
          c/o Ronald L. Israel
          Chiesa Shahinian & Giantomasi PC                                       Contingent
          One Boland Drive                                                       Unliquidated
          West Orange, NJ                                                        Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Potential claim arising from civil suit
          Last 4 digits of account number       7052                         Is the claim subject to offset?      No       Yes

 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $18,756.00
          Stevens & Lee                                                          Contingent
          P.O. Box 679                                                           Unliquidated
          Reading, PA 19603-0679                                                 Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Attorneys at Law - Provided Legal Services
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $110,031.02
          Stradley Ronon
          Stevens & Young, LLP                                                   Contingent
          2005 Market Street STE 2600                                            Unliquidated
          Philadelphia, PA 19103-7018                                            Disputed

          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Attorneys at Law - Provided Legal Services
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $562.00
          Suburban Testing Labs                                                  Contingent
          1037F Macarthur Road                                                   Unliquidated
          Reading, PA 19605                                                      Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Water Testing
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $887.50
          Taylor Oil Company                                                     Contingent
          P.O. Box 974                                                           Unliquidated
          Somerville, NJ 08876                                                   Disputed
          Date(s) debt was incurred  2014/2015                               Basis for the claim:    Fuel Equipment
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,750.00
          The Angell Pension Group, Inc                                          Contingent
          88 Boyd Avenue                                                         Unliquidated
          East Providence, RI 02914                                              Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Assistance with closing out pension fund
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $650.00
          The Heavey Group, LLC                                                  Contingent
          122 Lakewood Drive                                                     Unliquidated
          Coatesville, PA 19320                                                  Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Supplier of Printer and Drawing Maint.
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

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 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,200.00
          The Rose Corporation                                                   Contingent
          P.O. Box 15208                                                         Unliquidated
          Reading, PA 19612                                                      Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Steel Supplier
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $986,230.88
          Thornton Tomaestti, Inc.                                               Contingent
          P.O. Box 781187                                                        Unliquidated
          Philadelphia, PA 19178-1187                                            Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Steel Supplier
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $101,859.10
          Total Quality Logistics                                                Contingent
          P.O. Box 799                                                           Unliquidated
          Milford, OH 45150                                                      Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Transport of Products
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,308.33
          Tri-State Shearing & Bending                                           Contingent
          366 Herzl Street                                                       Unliquidated
          Brooklyn, NY 11212                                                     Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Steel Supplier
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $736.74
          Tru-Fit Products/Truweld                                               Contingent
          460 Lake Road                                                          Unliquidated
          Medina, OH 44256                                                       Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Welding Supplier
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $219.59
          Uline                                                                  Contingent
          P.O. Box 88741                                                         Unliquidated
          Chicago, IL 60680-1741                                                 Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Shop Supplies
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $182,900.00
          UMOJA Erectors LLC                                                     Contingent
          924 North 19th Street                                                  Unliquidated
          Philadelphia, PA 19130                                                 Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Erectors
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $11,250.00
          Uninsured Employers Fund
          WCB Finance                                                            Contingent
          328 State Street                                                       Unliquidated
          Schenectady, NY 12305                                                  Disputed

          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Penalties
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes




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 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,922.80
          United Concordia                                                       Contingent
          P.O. Box 504.66                                                        Unliquidated
          Philadelphia, PA 19182-7399                                            Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Dental Insurance
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $371.26
          United Parcel Service                                                  Contingent
          P.O. Box 7247-0244                                                     Unliquidated
          Philadelphia, PA 19170                                                 Disputed
          Date(s) debt was incurred Unknown                                  Basis for the claim:    Delivery Service
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $184,545.60
          United Rentals                                                         Contingent
          P.O. Box 100711                                                        Unliquidated
          Atlanta, GA 30384                                                      Disputed
          Date(s) debt was incurred      2014/2015                           Basis for the claim:    Rental Equipment
          Last 4 digits of account number    Unknown                         Is the claim subject to offset?      No       Yes

 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $948.16
          USABLE LIFE
          Customer Accounts                                                      Contingent
          P.O. Box 204678                                                        Unliquidated
          Dallas, TX 75320-4678                                                  Disputed

          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Life Insurance
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,199.92
          Vanguard Cleaning Systems                                              Contingent
          121 N. Cedar Crest Blvd.                                               Unliquidated
          Allentown, PA 18104                                                    Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Office Cleaning
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $11,542.00
          Vectorshades, LLC
          2010 Corporate Ridge                                                   Contingent
          Suite 700                                                              Unliquidated
          Mc Lean, VA 22102                                                      Disputed

          Date(s) debt was incurred 2014/2015                                Basis for the claim:    unknown
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $595.13
          Verizon                                                                Contingent
          P.O. Box 25505                                                         Unliquidated
          Lehigh Valley, PA 18002-5505                                           Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Cell Phone
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes

 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,773.56
          Voss Engineering, Inc.                                                 Contingent
          P.O. Box 88497                                                         Unliquidated
          Chicago, IL 60680                                                      Disputed
          Date(s) debt was incurred 2014/2015                                Basis for the claim:    Steel Supplier
          Last 4 digits of account number Unknown                            Is the claim subject to offset?      No       Yes



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 Debtor       Metropolitan Steel Industries, Inc.                                                     Case number (if known)
              Name

 3.169     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.         $456,726.31
           Vulcraft of New York, Inc.                                            Contingent
           P.O. Box 500230                                                       Unliquidated
           Philadelphia, PA 19182                                                Disputed
           Date(s) debt was incurred 2014/2015                               Basis for the claim:    Deck maint. supplier
           Last 4 digits of account number Unknown                           Is the claim subject to offset?      No       Yes

 3.170     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $200.14
           Water Guy                                                             Contingent
           2 East Point Drive                                                    Unliquidated
           Birdsboro, PA 19508                                                   Disputed
           Date(s) debt was incurred     2014/2015                           Basis for the claim:    Water Supplier
           Last 4 digits of account number   Unknown                         Is the claim subject to offset?      No       Yes

 3.171     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $34,168.64
           Weinstock Brothers Corporation                                        Contingent
           140 E. Mineola Avenue                                                 Unliquidated
           Valley Stream, NY 11580                                               Disputed
           Date(s) debt was incurred 2015                                    Basis for the claim:    Bolts supplier
           Last 4 digits of account number Unknown                           Is the claim subject to offset?      No       Yes

 3.172     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $512.47
           Wells Fago                                                            Contingent
           P.O. Box 5169                                                         Unliquidated
           Sioux Falls, SD 57117                                                 Disputed
           Date(s) debt was incurred 2014/2015                               Basis for the claim:    Credit Card
           Last 4 digits of account number Unknown                           Is the claim subject to offset?      No       Yes

 3.173     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $1,400.00
           West Motor Freight                                                    Contingent
           P.O. Box 62891                                                        Unliquidated
           Baltimore, MD 21264                                                   Disputed
           Date(s) debt was incurred     2014/2015                           Basis for the claim:    Transport of Products
           Last 4 digits of account number   Unknown                         Is the claim subject to offset?      No       Yes

 3.174     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $3,361.05
           Wex Bank                                                              Contingent
           P.O. Box 3440                                                         Unliquidated
           Boston, MA 02241                                                      Disputed
           Date(s) debt was incurred  Various dates                          Basis for the claim:
           Last 4 digits of account number 5418                              Is the claim subject to offset?      No       Yes

 3.175     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $663.70
           Young's Certified Water                                               Contingent
           19 Overlook Drive                                                     Unliquidated
           Ephrata, PA 17522                                                     Disputed
           Date(s) debt was incurred 2015                                    Basis for the claim:    Certified Water
           Last 4 digits of account number      Unknown                      Is the claim subject to offset?      No       Yes

 3.176     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $92,399.00
           Youngtown Pipe & Steel, LLC                                           Contingent
           45 S. Montgomery Avenue                                               Unliquidated
           Youngstown, OH 44506-2965                                             Disputed
           Date(s) debt was incurred 2014/2015                               Basis for the claim:    Steel Supplier
           Last 4 digits of account number Unknown                           Is the claim subject to offset?      No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

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 Debtor       Metropolitan Steel Industries, Inc.                                                  Case number (if known)
              Name


4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                  related creditor (if any) listed?                account number, if
                                                                                                                                                   any
 4.1      Capital Recovery Group, LLC
          Attn: Steve Papillo                                                                     Line
          1654 King Street
                                                                                                         Not listed. Explain Requested Notice
          Enfield, CT 06082
                                                                                                         of Sale and other activities

 4.2      CIA Company
          Attn: Ryan L. Luggen                                                                    Line
          Business Development Executive
                                                                                                         Not listed. Explain Requested Notice
          2020 Dunlap Street
                                                                                                         of Sale and other activities
          Cincinnati, OH 45214

 4.3      David J. Pfeffer, Esquire
          Tarter Kinsky & Drogin LLP                                                              Line   3.16
          1350 Broadway
                                                                                                         Not listed. Explain
          New York, NY 10018

 4.4      Health Industrial
          Attn: Stephen Stabiner                                                                  Line
          Director of Auction & Appraisal Services
                                                                                                         Not listed. Explain Requested Notice
          460 Irmen Drive
                                                                                                         of Sale and other activities
          Addison, IL 60101

 4.5      Industrial Assets
          Attn: Venice Gamble                                                                     Line
          Director of Legal & Business Development
                                                                                                         Not listed. Explain Requested Notice
          11426 Ventura Blvd.
                                                                                                         of Sale and other activities
          Studio City, CA 91604

 4.6      Michelle M. Smith, Esquire
          Rothbard, Rothbard, Kohn & Keller                                                       Line   3.10
          50 Park Place
                                                                                                         Not listed. Explain
          Suite 1228
          Newark, NJ 07102

 4.7      Myron Bowling Auctioneers, Inc.
          Attn: Craig Breetz                                                                      Line
          Business Development Coordinator
                                                                                                         Not listed. Explain Requested Notice
          3901 Kraus Lane
                                                                                                         of Sale and other activities
          Fairfield, OH 45014

 4.8      Paul W. Minnich, Esquire
          Barley Snyder                                                                           Line   3.66
          100 East Market Street
                                                                                                         Not listed. Explain
          York, PA 17401-1219

 4.9      Phillip W. Lamparello, Esquire
          Gibbons P.C.                                                                            Line   3.52
          One Gateway Center
                                                                                                         Not listed. Explain
          Newark, NJ

 4.10     Tsiwen M. Law, Esquire
          Law & Associated,L.L.C                                                                  Line   3.159
          One Penn Center, Suite 1055
                                                                                                         Not listed. Explain
          1617 John F. Kennedy Boulevard
          Philadelphia, PA 19103


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 Debtor       Metropolitan Steel Industries, Inc.                                                 Case number (if known)
              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                 related creditor (if any) listed?               account number, if
                                                                                                                                                 any
 4.11      Wm. F. Comly & Son, Inc.
           Attn: Stephen E. Comly, ASA                                                           Line
           1825 E. Boston Street
                                                                                                        Not listed. Explain Requested Notice
           Philadelphia, PA 19125
                                                                                                        of Sale and other activities


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                   Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.        $                   768,371.07
 5b. Total claims from Part 2                                                                       5b.    +   $                13,124,064.35

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.        $                   13,892,435.42




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 Fill in this information to identify the case:

 Debtor name         Metropolitan Steel Industries, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF PENNSYLVANIA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.        State what the contract or                   Project: Hofstra
             lease is for and the nature of               School of Medicine.
             the debtor's interest                        Debtor will not be
                                                          completing any
                                                          remaining obligations
                                                          to supply steel or
                                                          services on this
                                                          project.
                  State the term remaining
                                                                                      E.W. Howell Company
             List the contract number of any                                          245 Newtown Road
                   government contract                                                Plainview, NY 11803


 2.2.        State what the contract or                   Project: PS-343.
             lease is for and the nature of               Debtor will not be
             the debtor's interest                        completing any
                                                          remaining obligations
                                                          to supply steel or
                                                          services on this
                                                          project.
                  State the term remaining
                                                                                      E.W. Howell Company
             List the contract number of any                                          245 Newtown Road
                   government contract                                                Plainview, NY 11803


 2.3.        State what the contract or                   Project: PS-62.
             lease is for and the nature of               Debtor will not be
             the debtor's interest                        completing any
                                                          remaining obligations
                                                          to supply steel or
                                                          services on this
                                                          project.
                  State the term remaining
                                                                                      Leon D. DeMatteis Construction Corp.
             List the contract number of any                                          820 Elmont Road
                   government contract                                                Elmont, NY 11003




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 3
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 Debtor 1 Metropolitan Steel Industries, Inc.                                                 Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.4.        State what the contract or                   Project: MTA Bus
             lease is for and the nature of               Command.
             the debtor's interest                        Debtor will not be
                                                          completing any
                                                          remaining obligations
                                                          to supply steel or
                                                          services on this
                                                          project.
                  State the term remaining
                                                                                      MPCC Corporation
             List the contract number of any                                          81 Rockdale Avenue
                   government contract                                                New Rochelle, NY 10801


 2.5.        State what the contract or                   Project: Queens
             lease is for and the nature of               Borough Bridge.
             the debtor's interest                        Debtor will not be
                                                          completing any
                                                          remaining obligations
                                                          to supply steel or
                                                          services on this
                                                          project.
                  State the term remaining
                                                                                      NorthE Group, Inc.
             List the contract number of any                                          60 E. 9th Street
                   government contract                                                New York, NY 10003


 2.6.        State what the contract or                   Project: American
             lease is for and the nature of               Dream.
             the debtor's interest                        Debtor will not be
                                                          completing any
                                                          remaining obligations
                                                          to supply steel or
                                                          services on this
                                                          project.
                  State the term remaining
                                                                                      PCL Construction Services, Inc.
             List the contract number of any                                          6700 Forum Drive, Suite 100
                   government contract                                                Orlando, FL 32821


 2.7.        State what the contract or                   Project: Riverside
             lease is for and the nature of               Center Bldg. 5.
             the debtor's interest                        Debtor will not be
                                                          completing any
                                                          remaining obligations
                                                          to supply steel or
                                                          services on this
                                                          project.
                  State the term remaining
                                                                                      Tishman Construction Company
             List the contract number of any                                          100 Park Avenue, 5th Floor
                   government contract                                                New York, NY 10017




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 Debtor 1 Metropolitan Steel Industries, Inc.                                                 Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.8.        State what the contract or                   Project: Bristol-Myer
             lease is for and the nature of               Squibb.
             the debtor's interest                        Debtor will not be
                                                          completing any
                                                          remaining obligations
                                                          to supply steel or
                                                          services on this
                                                          project.
                  State the term remaining
                                                                                      Torcon, Inc.
             List the contract number of any                                          3401 Princeton Pike
                   government contract                                                Lawrence Township, NJ 08648


 2.9.        State what the contract or                   Project: East Market
             lease is for and the nature of               Street.
             the debtor's interest                        Debtor will not be
                                                          completing any
                                                          remaining obligations
                                                          to supply steel or
                                                          services on this
                                                          project.
                  State the term remaining
                                                                                      Tutor-Perini Building Corp.
             List the contract number of any                                          130 N. 18th Street, Suite 1500
                   government contract                                                Philadelphia, PA 19103


 2.10.       State what the contract or                   Project: George
             lease is for and the nature of               Washington Bridge.
             the debtor's interest                        Debtor will not be
                                                          completing any
                                                          remaining obligations
                                                          to supply steel or
                                                          services on this
                                                          project.
                  State the term remaining
                                                                                      Tutor-Perini Building Corp.
             List the contract number of any                                          130 N. 18th Street, Suite 1500
                   government contract                                                Philadelphia, PA 19103




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 Fill in this information to identify the case:

 Debtor name         Metropolitan Steel Industries, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF PENNSYLVANIA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:

    2.1      D. Kent Hartley                   150 Timberline Lane                                Metals USA Plates &               D
                                               Butler, PA 16001                                   Shapes                            E/F       3.105
                                                                                                                                    G




    2.2      D. Michael                        26135 Fawnwood Court                               Metals USA Plates &               D
             Hartley                           Bonita Springs, FL 34134                           Shapes                            E/F       3.105
                                                                                                                                    G




    2.3      Standard Bent                     P.O. Box 469                                       Infra-Metals Co.                  D
                                               Butler, PA 16003                                                                     E/F       3.75
                                                                                                                                    G




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 Fill in this information to identify the case:

 Debtor name         Metropolitan Steel Industries, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF PENNSYLVANIA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                           $14,337,155.00
       From 1/01/2016 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                           $20,814,264.00
       From 1/01/2015 to 12/31/2015
                                                                                                   Other


       For year before that:                                                                       Operating a business                             $1,177,238.00
       From 1/01/2014 to 12/31/2014
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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 Debtor       Metropolitan Steel Industries, Inc.                                                       Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               Airgas East                                                 5/19/2016                        $34,952.67           Secured debt
               732 Tulpehocket Street                                      6/9/2016                                              Unsecured loan repayments
               Attn: Jack Bordonaro                                        6/16/2016
                                                                                                                                 Suppliers or vendors
               Reading, PA 19601                                           6/27/2016
                                                                                                                                 Services
                                                                                                                                 Other


       3.2.
               A&R Trucking LLC                                            6/9/2016                           $7,375.00          Secured debt
               503 Kunkletown Road                                                                                               Unsecured loan repayments
               Kunkletown, PA 18058
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.3.
               All Steel Service Inc.                                      5/23/2016                        $15,455.74           Secured debt
               305 W. Washington Street                                    5/31/2016                                             Unsecured loan repayments
               Allentown, PA 18102
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.4.
               AmeriHealth Casualty Services                               6/1/2016                         $21,325.20           Secured debt
               P.O. Box 8500                                               6/30/2016                                             Unsecured loan repayments
               Philadelphia, PA 19178                                      7/13/2016                                             Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Worker's
                                                                                                                               Compensation Insurance

       3.5.
               Amquip Crane Rental LLC                                     5/16/16                          $81,000.00           Secured debt
               P.O. Box 782945                                             5/27/2016                                             Unsecured loan repayments
               Philadelphia, PA 19178                                      6/30/2016
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.6.
               Aveva, Inc.                                                 5/5/2016                           $8,599.00          Secured debt
               10350 Richmond Ave., Suite 400                              6/30/2016                                             Unsecured loan repayments
               Houston, TX 77042
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.7.
               Axis Steel Detailing Inc.                                   5/31/2016                        $80,823.75           Secured debt
               P.O. Box 826                                                6/10/2016                                             Unsecured loan repayments
               Orem, UT 84059
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.8.
               Bushwick Metals LLC                                         6/1/2016                         $32,988.99           Secured debt
               P.O. Box 414860                                                                                                   Unsecured loan repayments
               Boston, MA 02241-4860
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other



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 Debtor       Metropolitan Steel Industries, Inc.                                                       Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.9.
               Chrysler Capital                                            5/12/2016                          $7,214.34          Secured debt
               P.O. Box 961278                                             6/16/2016                                             Unsecured loan repayments
               Fort Worth, TX 76161-1278                                   6/27/2016
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.10
       .
            Copeland Surveying, Inc.                                       6/9/2016                         $20,527.00           Secured debt
               707 Whitehorse Pike, Suite B-3                              6/27/2016                                             Unsecured loan repayments
               Absecon, NJ 08201
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.11
       .
            Cresco Lines, Inc.                                             5/19/2016                        $37,661.50           Secured debt
               15220 S. Halsted Street                                     6/9/2016                                              Unsecured loan repayments
               Harvey, IL 60426                                            6/16/2016
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.12
       .
            District Council Ironworkers                                   6/1/2016                         $17,892.62           Secured debt
               12 Edison Place                                                                                                   Unsecured loan repayments
               Springfield, NJ 07081                                                                                             Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Union Dues


       3.13
       .
            DRM Associates Inc                                             6/9/2016                         $14,754.00           Secured debt
               4334 Hanover Pike                                           6/27/2016                                             Unsecured loan repayments
               Manchester, MD 21102
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.14
       .
            First Insurance Funding Corp                                   6/1/2016                         $49,744.74           Secured debt
               450 Skokie Blvd.                                            6/16/2016                                             Unsecured loan repayments
               Northbrook, IL 60062                                                                                              Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other General Liability and
                                                                                                                               Umbrella Insurance

       3.15
       .
            First National Bank                                            5/16/2016                        $97,090.68           Secured debt
               P.O. Box 31535                                              6/29/2016                                             Unsecured loan repayments
               Tampa, FL 33631                                                                                                   Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Principal and Interest
                                                                                                                               on Loan

       3.16
       .
            Fisher's Rental                                                6/16/2016                          $6,976.97          Secured debt
               2698 Bernville Road                                         6/27/2016                                             Unsecured loan repayments
               Winona, MN 55987-1286
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


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 Debtor      Metropolitan Steel Industries, Inc.                                                        Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.17
       .
            First National Bank                                            7/13/2016                          $7,727.40          Secured debt
               P.O. Box 31535                                                                                                    Unsecured loan repayments
               Tampa, FL 33631                                                                                                   Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Commericial Credit
                                                                                                                               Card

       3.18
       .
            Global Steel Detailing                                         5/10/2016                        $15,000.00           Secured debt
               AV. De Los Shyris 3110 Y Pasaje Eiffel                      6/2/2016                                              Unsecured loan repayments
               Office 203                                                  6/30/2016
                                                                                                                                 Suppliers or vendors
               Quito-Ecuador
                                                                                                                                 Services
                                                                                                                                 Other


       3.19
       .
            Haydon Bolts Inc.                                              5/12/2016                        $85,763.86           Secured debt
               1181 Unity Street                                           6/9/2016                                              Unsecured loan repayments
               Philadelphia, PA 19124-3196                                 6/16/2016
                                                                                                                                 Suppliers or vendors
                                                                           6/27/2016
                                                                                                                                 Services
                                                                           6/30/2016
                                                                                                                                 Other


       3.20
       .
            I.U.O.E. Benefit Funds                                         6/1/2016                         $31,410.59           Secured debt
               P.O. Box 1477                                               6/30/2016                                             Unsecured loan repayments
               Fort Washington, PA 19034                                                                                         Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Union Dues


       3.21
       .
            Infra-Metals Co.                                               5/19/2016                       $160,694.08           Secured debt
               P.O. Box 409828                                             6/1/2016                                              Unsecured loan repayments
               Atlanta, GA 30384                                           6/16/2016
                                                                                                                                 Suppliers or vendors
                                                                           6/27/2016
                                                                                                                                 Services
                                                                                                                                 Other


       3.22
       .
            Iron Workers Local 68                                          5/9/2016                         $40,050.80           Secured debt
               2595 Yardville-Hamilton Square                              5/16/2016                                             Unsecured loan repayments
               Trenton, NJ 08690                                           5/23/2016                                             Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Union Dues


       3.23
       .
            John F. Eberth Associated, Inc.                                6/1/2016                         $10,500.00           Secured debt
               81 West Lake Shore Drive                                    6/27/206                                              Unsecured loan repayments
               Rockaway, NJ 07866                                          6/30/2016
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.24
       .
            Joint Admin Acct. Local 580                                    5/6/2016                         $34,676.54           Secured debt
               501 W 42nd Street                                           6/20/2016                                             Unsecured loan repayments
               New York, NY 10036                                                                                                Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Union Dues



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 Debtor      Metropolitan Steel Industries, Inc.                                                        Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.25
       .
            Kenvil United Corp                                             5/12/2016                       $616,149.50           Secured debt
               P.O. Box 32                                                 5/12/2016                                             Unsecured loan repayments
               Wharton, NJ 07885                                           6/10/2016
                                                                                                                                 Suppliers or vendors
                                                                           7/8/2016
                                                                                                                                 Services
                                                                                                                                 Other


       3.26
       .
            Leisawitz Heller                                               6/30/2016                        $15,000.00           Secured debt
               2755 Century Blvd.                                                                                                Unsecured loan repayments
               Wyomissing, PA 19610                                                                                              Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                  Other Legal costs and fees
                                                                                                                               for bankruptcy

       3.27
       .
            Local 40, 361 & 417                                            6/1/2016                        $110,623.55           Secured debt
               451 Park Avenue South                                       6/6/2016                                              Unsecured loan repayments
               New York, NY 10016                                                                                                Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Union Dues


       3.28
       .
            Metals USA Plates & Shapes                                     6/1/2016                         $97,762.06           Secured debt
               P.O. Box 827110                                             6/27/2016                                             Unsecured loan repayments
               Philadelphia, PA 19182                                      6/30/2016
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.29
       .
            Motco Logistics LLC                                            6/9/2016                           $7,432.00          Secured debt
               6547 Hollenbach Road                                        6/16/2016                                             Unsecured loan repayments
               New Tripoli, PA 18066                                       6/22/2016
                                                                                                                                 Suppliers or vendors
                                                                           6/30/2016
                                                                                                                                 Services
                                                                                                                                 Other


       3.30
       .
            New Jersey Galv & Tinning                                      6/22/2016                        $28,528.34           Secured debt
               139 Haynes Avenue                                                                                                 Unsecured loan repayments
               Newark, NJ 07114-2286
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.31
       .
            New York State Insurance Fund                                  6/6/2016                         $12,528.73           Secured debt
               199 Church Street                                           6/30/2016                                             Unsecured loan repayments
               New York, NY 10007                                                                                                Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Worker's
                                                                                                                               Compensation Insurance

       3.32
       .
            Nitterhouse Concrete                                           5/25/2016                       $825,679.58           Secured debt
               P.O. Box 2013                                               6/3/2016                                              Unsecured loan repayments
               Chambersburg, PA 17201                                      6/16/2016
                                                                                                                                 Suppliers or vendors
                                                                           7/8/2016
                                                                                                                                 Services
                                                                                                                                 Other


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 Debtor      Metropolitan Steel Industries, Inc.                                                        Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.33
       .
            Nobel Equipment & Supply Co., Inc.                             6/1/2016                           $7,466.17          Secured debt
               1920 U.S. HWY #1                                            6/16/2016                                             Unsecured loan repayments
               Linden, NJ 07036
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.34
       .
            Northeast Gas Servics, Inc.                                    6/1/2016                           $8,298.30          Secured debt
               27 McDermott Place                                          6/9/2016                                              Unsecured loan repayments
               Bergenfield, NJ 07621                                       6/16/2016
                                                                                                                                 Suppliers or vendors
                                                                           6/30/2016
                                                                                                                                 Services
                                                                                                                                 Other


       3.35
       .
            Ohio Gratings, Inc.                                            6/9/2016                         $25,315.00           Secured debt
               5299 Southway Street SW                                                                                           Unsecured loan repayments
               Canton, OH 44706
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.36
       .
            Owens Steel Company Inc.                                       7/5/2016                        $336,357.17           Secured debt
               727 Mauney Drive                                                                                                  Unsecured loan repayments
               Columbia, SC 29201
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.37
       .
            Peddinghaus Corporation                                        6/9/2016                         $11,853.21           Secured debt
               300 N. Washington Avenue                                    6/27/2016                                             Unsecured loan repayments
               Bradley, IL 60915
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.38
       .
            PPL Electric Utilities                                         6/1/2016                         $18,169.14           Secured debt
               P.O. Box 25247                                              6/27/2016                                             Unsecured loan repayments
               Lehigh Valley, PA 18002-5247                                                                                      Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Electric bill


       3.39
       .
            Reading Crane and Engineering                                  5/27/2016                        $11,996.43           Secured debt
               11 Vanguard Drive                                           6/9/2016                                              Unsecured loan repayments
               Reading, PA 19606                                           6/16/2016
                                                                                                                                 Suppliers or vendors
                                                                           6/27/2016
                                                                                                                                 Services
                                                                           6/30/2016
                                                                                                                                 Other


       3.40
       .
            Roof Deck Inc.                                                 5/5/2016                         $73,538.31           Secured debt
               80 Twin Rivers Drive                                        5/19/2016                                             Unsecured loan repayments
               Hightstown, NJ 08520                                        5/24/2016
                                                                                                                                 Suppliers or vendors
                                                                           5/26/2016
                                                                                                                                 Services
                                                                           6/23/2016
                                                                                                                                 Other




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 Debtor      Metropolitan Steel Industries, Inc.                                                        Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.41
       .
            Sherwin-Williams                                               6/9/2016                           $6,908.24          Secured debt
               1620 North 3rd Street                                       6/30/2016                                             Unsecured loan repayments
               Reading, PA 19601
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.42
       .
            Sideplate Systems, Inc.                                        5/19/2016                        $40,000.00           Secured debt
               25909 Pala Suite 200                                        6/16/2016                                             Unsecured loan repayments
               Mission Viejo, CA 92691
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.43
       .
            Steel Dynamics Structural Div.                                 5/25/2016                        $50,000.00           Secured debt
               36260 Treasury Center                                                                                             Unsecured loan repayments
               Chicago, IL 60669-4000
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.44
       .
            Stevens & Lee                                                  6/24/2016                       $100,000.00           Secured debt
               P.O. Box 679                                                                                                      Unsecured loan repayments
               Reading, PA 19603-0679                                                                                            Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Legal services


       3.45
       .
            Stradley Ronon                                                 5/23/2016                       $123,604.38           Secured debt
               Stevens & Young, LLP                                                                                              Unsecured loan repayments
               2005 Market Street STE 2600
                                                                                                                                 Suppliers or vendors
               Philadelphia, PA 19103-7018
                                                                                                                                 Services
                                                                                                                                 Other


       3.46
       .
            Loomis Company- PCW                                            6/7/2016                         $26,898.04           Secured debt
               850 N Park Rd,                                              7/13/2016                                             Unsecured loan repayments
               Wyomissing, PA 19610                                        7/15/2016                                             Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Insurance


       3.47
       .
            UMOJA Erectors LLC                                             5/6/2016                        $429,296.43           Secured debt
               924 North 19th Street                                       5/13/2016                                             Unsecured loan repayments
               Philadelphia, PA 19130                                      6/3/2016
                                                                                                                                 Suppliers or vendors
                                                                           6/10/2016
                                                                                                                                 Services
                                                                           6/21/2016
                                                                                                                                 Other


       3.48
       .
            United States Treasury                                         7/12/2016                        $62,004.62           Secured debt
               1500 Pennsylvania Avenue, NW                                7/18/2016                                             Unsecured loan repayments
               Washington, DC 20220                                                                                              Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Payroll Taxes




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 Debtor       Metropolitan Steel Industries, Inc.                                                       Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.49
       .
            West Motor Freight                                             6/9/2016                         $20,701.00                Secured debt
               P.O. Box 62891                                              6/16/2016                                                  Unsecured loan repayments
               Baltimore, MD 21264
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other


       3.50
       .
            Wex Bank                                                       5/1/2016                         $14,846.12                Secured debt
               P. O. Box 6293                                              6/9/2016                                                   Unsecured loan repayments
               Carol Stream, IL 60197                                      7/7/2016                                                   Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other Credit Card



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    D. Kent Hartley                                             10/2/2015,                      $168,360.78           Payments of Principal and
               150 Timberline Lane                                         11/13/2015,                                           Interest & Expenses
               Butler, PA 16001                                            6/9/2016
               Mortgagee on parcels                                        6/16/2016
                                                                           6/27/2016
                                                                           6/30/2016
                                                                           7/7/2016

       4.2.    D. Michael Hartley                                          10/2/2015,                      $180,784.29           Payments of Principal and
               26135 Fawnwood Court                                        11/13/2015,                                           Interest & Expenses
               Bonita Springs, FL 34134                                    6/9/2016
               Mortgagee on parcels                                        6/16/2016
                                                                           7/7/2016

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

       Creditor's name and address                               Describe of the Property                                      Date                   Value of property

       PCL Construction Services                                 Structural Steel & Plate                                      7/18/2016-7/21           $1,386,525.56
       300 Paterson Plank Road East                                                                                            /2016
       East Rutherford, NJ 07073

       Infra-Metals Co.                                          Structural Steel & Plate                                      7/11/2016-7/15                $126,849.91
       P.O. Box 409828                                                                                                         /2016
       Atlanta, GA 30384




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 Debtor       Metropolitan Steel Industries, Inc.                                                       Case number (if known)



       Creditor's name and address                               Describe of the Property                                      Date                    Value of property

       Tutor-Perini Building Corp                                Structural Steel & Plate                                      7/11/2016-7/15            $1,284,435.48
       One Logan Square                                                                                                        /2016
       130 N. 18th Street
       Suite 1500
       Philadelphia, PA 19103

       IMAGEZE, Inc.                                             Server                                                        7/18/2016                      $3,500.00
       P.O. Box 151
       Reading, PA 19603

       Cintas Fire Protection                                    25 Fire Extinguishers                                         7/22/2016                      $2,578.65
       P.O. Box 636525
       Cincinnati, OH 45263-5250

       IMAGEZE, Inc.                                             4 Computers & 4 Laptops                                       7/29/2016                      Unknown
       P.O. Box 151
       Reading, PA 19603

       Northeast Gas Servics, Inc.                               26 boxes of welding wire                                      8/3/2016                       $3,042.00
       27 McDermott Place
       Bergenfield, NJ 07621


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                   Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    Hynes                                             Civil Action               Berks County CCP                               Pending
               v.                                                Complaint                  833 Court Street                               On appeal
               Steelco Acquisitions, LLC et                                                 Reading, PA 19601
                                                                                                                                           Concluded
               al
               15-15579

       7.2.    Midatlantic Erectors, Inc.                        Civil Action               Superior Court of New                          Pending
               v. Metropolitan Steel                             Complaint                  Jersey                                         On appeal
               Industries, Inc.                                                             Essex County
                                                                                                                                           Concluded
               L-001975 16                                                                  Hall of Records, Room 201
                                                                                            465 Dr. Martin Luther King
                                                                                            Jr. Blvd.
                                                                                            Newark, NJ 07102




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 Debtor       Metropolitan Steel Industries, Inc.                                                       Case number (if known)



               Case title                                        Nature of case            Court or agency's name and            Status of case
               Case number                                                                 address
       7.3.    American Express Travel                           Civil Action              Supreme Court of the State               Pending
               Related Services Company,                         Complaint                 of New York                              On appeal
               Inc./
                                                                                                                                    Concluded
               v.
               Metropolitan Steel Industries,
               Inc. D/B/A SteelC
               651367/2016

       7.4.    E.W. Howell Co., LLC                              Civil Action              United States District Court             Pending
               v.                                                Complaint                 Southern Distric of New                  On appeal
               Metropolitan Steel Industries,                                              York
                                                                                                                                    Concluded
               Inc. d/b/a Steelco
               15-cv-06603

       7.5.    Robert Weyrauch                                   Civil Action              Supreme Court of the State               Pending
               v.                                                Complaint                 of New York                              On appeal
               Metropolitan Steel Industries,
                                                                                                                                    Concluded
               Inc., et al.
               152481/2015

       7.6.    American Stair Corporation                        Civil Action              Superior Court of New                    Pending
               Inc.                                              Complaint                 Jersey                                   On appeal
               v.
                                                                                                                                    Concluded
               Metropolitan Steel Industries,
               Inc.
               d/b/a Steelco, et al.
               L-1332-16

       7.7.    Greiner Industries, Inc.                          Civil Action              Berks County Court of                    Pending
               v.                                                Complaint                 Common Pleas                             On appeal
                Metropolitan Steel Industries,                                             833 Court Street
                                                                                                                                    Concluded
               Inc.                                                                        Reading, PA 19601
               15-20414

       7.8.    Berks Products Corp.                              Civil Action              MDJ-23-1-01                              Pending
               v.                                                Complaint                                                          On appeal
               Metropolitan Steel Ind. Inc.
                                                                                                                                    Concluded
               d/b/a Steelco
               MJ-23101-CV-0000107-2016

       7.9.    Quinco Contracting and                            Civil Action              Montgomery County Court                  Pending
               Maintenance Co.                                   Complaint                 of Common Pleas                          On appeal
               v.
                                                                                                                                    Concluded
               Metroploitan Steel, Inc.
               2016-01410

       7.10 Umoja Erectors, LLC                                  Civil Action              Court of Common Plea                     Pending
       .    v.                                                   Complaint                 Philadelphia County                      On appeal
               Metropolitan Steel Industries,
                                                                                                                                    Concluded
               Inc.
               02025

       7.11 Christopher Caral Jr., et al                         Civil action              US District Court ED                     Pending
       .    v.                                                   Complaint                 Pennsylvania                             On appeal
               Metropolitan Steel Industries,
                                                                                                                                    Concluded
               Inc. d/b/a Steelco, et al.
               16-2819

       7.12 Print-O-Stat, Inc.                                   Civil Action              MDJ-02-2-05                              Pending
       .    v. Metropolitan Steel                                Complaint                                                          On appeal
               Industries, Inc.
                                                                                                                                    Concluded
               MJ-02205-CV-0000097-2016

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 Debtor      Metropolitan Steel Industries, Inc.                                                            Case number (if known)



               Case title                                        Nature of case               Court or agency's name and             Status of case
               Case number                                                                    address
       7.13 Bay Crane Service, Inc., Bay                         Civil Action                 Supreme Court of the State                  Pending
       .    Crane Service of Long Island,                        Complain                     on New York                                 On appeal
               Inc. and Bay Crane Service of
                                                                                                                                          Concluded
               New Jersey, Inc.
               v.
               Metropolitan Steel Industries,
               Inc., et al
               155961-2016

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                            Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss             Value of property
       how the loss occurred                                                                                                                                       lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).
       Farris theft from company. Under                          Amount Unknown                                                                                    $0.00
       police investigation


 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.




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 Debtor        Metropolitan Steel Industries, Inc.                                                       Case number (if known)



                 Who was paid or who received                        If not money, describe any property transferred           Dates               Total amount or
                 the transfer?                                                                                                                              value
                 Address
       11.1.     Leisawitz Heller                                                                                              Various
                 2755 Century Blvd.                                                                                            dates in
                 Wyomissing, PA 19610                                                                                          2016                    $15,000.00

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers              Total amount or
                                                                                                                      were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                           Description of property transferred or                  Date transfer             Total amount or
                Address                                          payments received or debts paid in exchange             was made                           value
       13.1 Leslie Hynes                                         MassMutual Life Insurance Policy -
       .    2002 Farley Road                                     premium has been paid by Leslie Hynes
                Whitehouse Station, NJ 08889                     since the inception of the policy                                                             $0.00

                Relationship to debtor




 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services             If debtor provides meals
                                                                 the debtor provides                                                      and housing, number of
                                                                                                                                          patients in debtor’s care
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 12
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 Debtor      Metropolitan Steel Industries, Inc.                                                        Case number (if known)




 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    Steelco Defined Contribution Retirement Plan                                               EIN: XX-XXXXXXX

                    Has the plan been terminated?
                      No
                       Yes


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was            Last balance
               Address                                           account number           instrument                  closed, sold,           before closing or
                                                                                                                      moved, or                        transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                        Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


           None

       Facility name and address                                      Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own




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 Debtor      Metropolitan Steel Industries, Inc.                                                        Case number (if known)




21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None

       Owner's name and address                                       Location of the property            Describe the property                           Value
       Hynes Family members, et al /Andrew                            Storage/shipping                    Personal tools owned by                         $0.00
       Vogt                                                           contaner                            various individuals located in
                                                                      601 Fritztown Rd.                   storage container on
                                                                      Sinking Spring, PA 19608            property.

       Owner's name and address                                       Location of the property            Describe the property                           Value
       MPCC Corporation                                               601 Fritztown Road                  Steel and achor bolts                   $76,926.58
       81 Rockdale Avenue                                             Sinking Spring, PA 19608
       New Rochelle, NY 10801


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                     Court or agency name and            Nature of the case                 Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known    Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known    Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None


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 Debtor      Metropolitan Steel Industries, Inc.                                                        Case number (if known)



    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Herbein & Company, Inc.                                                                                                    2014-2015
                    2763 Century Blvd.
                    Wyomissing, PA 19610

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Herbein & Company, Inc.                                                                                                    2014-2015
                    2763 Century Blvd.
                    Wyomissing, PA 19610

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Herbein & Company, Inc.
                    2763 Century Blvd.
                    Wyomissing, PA 19610

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       SOLIC Capital Advisors, LLC
                    1603 Orrington Avenue
                    Suite 1600
                    Evanston, IL 60201
       26d.2.       First National Bank
                    1051 New Castle Road
                    Prospect, PA 16052
       26d.3.       Loomis Company- PCW
                    850 N Park Rd,
                    Wyomissing, PA 19610

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

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 Debtor       Metropolitan Steel Industries, Inc.                                                       Case number (if known)



               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory
       27.1 David Cool / Joe Voletto
       .                                                                                    3/21/16-3/25/16          $55,838.25

               Name and address of the person who has possession of
               inventory records
               David Cool



28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       D. Michael Hartley                             26135 Fawnwood Court                                Shareholder                           50 %
                                                      Bonita Springs, FL 34134

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       D. Kent Hartley                                150 Timberline Lane                                 Shareholder                           50%
                                                      Butler, PA 16001



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Andrew Vogt                                    85 Mudtown Road
                                                      Wantage, NJ 07461

       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Charles P. Farris                              71 Limerick Lane
                                                      Phillipsburg, NJ 08865-5723


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value
       30.1                                                                                                              10/2/2015,
       .                                                                                                                 11/13/2015,        Payments of
               D. Michael Hartley                                                                                        6/9/2016,          Principal and
               26135 Fawnwood Court                                                                                      6/16/2016,         Interest &
               Bonita Springs, FL 34134                          $180,784.29                                             7/7/2016           Expenses

               Relationship to debtor
               Mortgagee on parcels


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 Debtor       Metropolitan Steel Industries, Inc.                                                       Case number (if known)



               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.2                                                                                                              10/2/2015,
       .                                                                                                                 11/13/2015,
                                                                                                                         6/9/2016,
                                                                                                                         6/16/2016,        Payments of
               D. Kent Hartley                                                                                           6/27/2016,        Principal and
               150 Timberline Lane                                                                                       6/30/2016,        Interest &
               Butler, PA 16001                                  $168,360.78                                             7/7/2016          Expenses

               Relationship to debtor
               Mortgagee on parcels


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    Steelco Defined Contribution Retirement Plan                                                               EIN:        XX-XXXXXXX

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         August 3, 2016

 /s/ David Cool                                                         David Cool
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         CFO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Eastern District of Pennsylvania
 In re       Metropolitan Steel Industries, Inc.                                                                Case No.
                                                                                     Debtor(s)                  Chapter     7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                    $                     0.00
             Prior to the filing of this statement I have received                                          $                     0.00
             Balance Due                                                                                    $                     0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):           $400.00 per hour - Charles J. Phillips, Esquire
                                                                     $350.00 per hour - Eden R. Bucher, Esquire
                                                                     $200.00-$295.00 per hour - Associates
                                                                     $150.00 per hour - Paralegals

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):           D. Michael Hartley
                                                                     D. Kent Hartley
                                                                     To be paid on an hourly basis (see above for rates)

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       e.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                             CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     August 3, 2016                                                                 /s/ Charles J. Phillips, Esquire
     Date                                                                           Charles J. Phillips, Esquire 39260
                                                                                    Signature of Attorney
                                                                                    Leisawitz Heller Abramowitch Phillips, P.C.
                                                                                    2755 Century Blvd.
                                                                                    Wyomissing, PA 19610
                                                                                    610-372-3500 Fax: 610-372-8671
                                                                                    Name of law firm




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                                                               United States Bankruptcy Court
                                                                     Eastern District of Pennsylvania
 In re      Metropolitan Steel Industries, Inc.                                                         Case No.
                                                                                    Debtor(s)           Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


I, the CFO of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to the

best of my knowledge.




 Date:       August 3, 2016                                              /s/ David Cool
                                                                         David Cool/CFO
                                                                         Signer/Title




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                        A.C. Coronato Corporation
                        P.O. Box 506
                        Lyndhurst, NJ 07071



                        Acme Metals Co.
                        3000 Grand Ave #1
                        Pittsburgh, PA 15225



                        Advanced Business Equipment
                        1129 Union Blvd.
                        Allentown, PA 18109



                        Airgas East
                        732 Tulpehocket Street
                        Attn: Jack Bordonaro
                        Reading, PA 19601



                        All Steel Service Inc.
                        305 W. Washington Street
                        Allentown, PA 18102



                        Ally
                        P.O. Box 9001948
                        Louisville, KY 40290



                        Ally Financial
                        P.O. Box 380901
                        Bloomington, MN 55438



                        American Crane & Equip. Corp
                        531 Old Swede Road
                        Douglassville, PA 19518



                        American Express Travel Related Services
                        c/o Michael Hoefs, Esquire
                        Jaffe & Asher LLP
                        600 Third Avenue
                        New York, NY 10016
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                    American Inst. of Steel Construction
                    c/o Legacy Professionals LLP
                    Dept 978763
                    P.O. Box 8763
                    Carol Stream, IL 60197-8763



                    American Stair Corporation
                    642 Forestwood Drive
                    Romeoville, IL 60446-1354



                    American Vending Services, Inc.
                    405 Keystone Blvd.
                    BLDG 4-A
                    Pottstown, PA 19464



                    Amquip Crane Rental LLC
                    P.O. Box 782945
                    Philadelphia, PA 19178



                    Axis Steel Detailing Inc.
                    P.O. Box 826
                    Orem, UT 84059



                    BACO Enterprises, Inc.
                    1190 Longwood Avenue
                    Bronx, NY 10474



                    Bay Crane Jersey
                    316 Patterson Plank Road
                    East Rutherford, NJ 07073



                    Bay Crane Service Inc.
                    11-02 43rd Avenue
                    Long Island City, NY 11101



                    Berks and Beyond Employment Svc.
                    926 Penn Ave
                    Reading, PA 19610
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                    Berks EIT Bureau
                    1125 Berkshire Blvd.
                    Suite 115
                    Wyomissing, PA 19610



                    Berks Products Corporation
                    Customer Acct Processing
                    167 Berks Products Drive
                    Leesport, PA 19533



                    Bernville Quality Fuels Inc.
                    330 Blair Avenue
                    Reading, PA 19601



                    BIC-Berkley Fire & Marine
                    P.O. Box 204627
                    Dallas, TX 75320-4627



                    Birmingham Fastener, Inc.
                    P.O. Box 10323
                    Birmingham, AL 35202



                    Blue Moose Tube
                    1519 Clarkson Road
                    Chesterfield, MO 63017



                    Blueline Rental LLC
                    P.O. Box 840062
                    Dallas, TX 75284-0062



                    Bushwick Metals LLC
                    P.O. Box 414860
                    Boston, MA 02241-4860



                    Capital Recovery Group, LLC
                    Attn: Steve Papillo
                    1654 King Street
                    Enfield, CT 06082
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                    Cartridge World
                    4748 Penn Avenue
                    Reading, PA 19608



                    Central Metals, Inc.
                    1054 South 2nd Street
                    Camden, NJ 08103



                    Certified Steel Co. Inc.
                    1333 Brunswick Pike, Suite 200
                    Lawrence Township, NJ 08648



                    Chapel Steel Company
                    P.O. Box 8500
                    Box 4106
                    Philadelphia, PA 19178-4106



                    Choice Communications
                    370 West main Avenue
                    Myerstown, PA 17067



                    Christopher and Elizabeth Caral
                    c/o Ari R. Karpf, Esquire
                    3331 Street Rd.
                    Two Greenwood Square, Suite 128
                    Bensalem, PA 19020



                    Chrysler Capital
                    P.O. Box 961278
                    Fort Worth, TX 76161-1278



                    Chrysler Capital
                    P.O. Box 660335
                    Dallas, TX 75266-0335



                    CIA Company
                    Attn: Ryan L. Luggen
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                    CIA Company
                    Attn: Ryan L. Luggen
                    Business Development Executive
                    2020 Dunlap Street
                    Cincinnati, OH 45214



                    Cintas Corporation LOC 101
                    P.O. Box 636165
                    Cincinnati, OH 45263-0803



                    Cintas Fire Protection
                    P.O. Box 636525
                    Cincinnati, OH 45263-5250



                    CNA Insurance
                    100 Matsonford Rd
                    Wayne, PA 19087



                    Colonial Electric Supply Co.
                    P.O. Box 414564
                    Boston, MA 02241-4564



                    Commonwealth of Pennsylvania
                    Dept. of Labor and Industry
                    651 Boas Street
                    Harrisburg, PA 17121-0750



                    Control Associates & Mfg LLC
                    1452 Woodlot Road
                    Manheim, PA 17545



                    Copeland Surveying, Inc.
                    707 Whitehorse Pike, Suite B-3
                    Absecon, NJ 08201



                    CPA Technology
                    101 W. Elm Street
                    Suite 500
                    Conshohocken, PA 19428
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                    Cresco Lines, Inc.
                    15220 S. Halsted Street
                    Harvey, IL 60426



                    CT Corporation
                    P.O. Box 4349
                    Carol Stream, IL 60197-4349



                    Custom Welding, Inc.
                    847 State Route 12
                    Frenchtown, NJ 08825



                    D. Kent Hartley
                    150 Timberline Lane
                    Butler, PA 16001



                    D. Michael Hartley
                    26135 Fawnwood Court
                    Bonita Springs, FL 34134



                    D. Michael Hartley and D. Kent Hartley
                    26135 Fawnwood Court
                    Bonita Springs, FL 34134



                    David J. Pfeffer, Esquire
                    Tarter Kinsky & Drogin LLP
                    1350 Broadway
                    New York, NY 10018



                    Diesel Service, Inc.
                    150 Lehigh Street
                    Reading, PA 19601



                    Dillon McCandless Ling Coulter
                    128 West Cunningham Street
                    Butler, PA 16001
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                    Discount Metal Inc.
                    29110 Anderson Road
                    Wickliffe, OH 44092



                    Doyle Structural Solutions, LLC
                    1140 N. Fifth Street
                    Stroudsburg, PA 18360



                    DRM Associates Inc
                    4334 Hanover Pike
                    Manchester, MD 21102



                    Durrett Sheppard Steel
                    P.O. Box 758656
                    Baltimore, MD 21275-8656



                    E-ZPass
                    NJ E-ZPass
                    Violations Processing Center
                    P.O. Box 4971
                    Trenton, NJ 08650



                    E.W. Howell Co., LLC
                    245 Newtown Rd.
                    Suite 600
                    Plainview, NY 11803



                    E.W. Howell Company
                    245 Newtown Road
                    Plainview, NY 11803



                    Elizabethtown Gas
                    P.O. Box 5412
                    Carol Stream, IL 60197-5412



                    ERICO
                    3138 Paysphere Circle
                    Chicago, IL 60674
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                    EW Wylie Corporation
                    Rend 7252 Southern Center
                    Chicago, IL 60677-7002



                    Fastenal Company
                    P.O. Box 1286
                    Winona, MN 55987-1286



                    Fed Ex
                    P.O. Box 371461
                    Pittsburgh, PA 15250-7461



                    First National Bank
                    P.O. Box 31535
                    Tampa, FL 33631



                    Fisher's Rental
                    2698 Bernville Road
                    Winona, MN 55987-1286



                    Ford Credit
                    Box 220564
                    Pittsburgh, PA 15257-2564



                    Ford Motor Credit Company
                    P.O. Box 17948
                    Greenville, SC 29606



                    Freightquote.com, Inc.
                    901 West Carondelt Drive
                    Kansas City, MO 64114



                    Frontier Steel Co.
                    P.O. Box 71431
                    Chicago, IL 60694
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                    George Hill Systems
                    573 Fancy Hill Road
                    Boyertown, PA 19512



                    Global Steel Detailing
                    AV. De Los Shyris 3110 Y Pasaje Eiffel
                    Office 203
                    Quito-Ecuador



                    Grainer Inc.
                    Dept 827725920
                    Palatine, IL 60038-0010



                    Greiner Industries Inc.
                    1650 Steel Way
                    Mount Joy, PA 17552



                    H.R. Direct
                    PO Box 668220
                    Pompano Beach, FL 33066-8220



                    Harris-Camden Term Equip, Inc.
                    2201 mt. Ephraim Avenue
                    Camden, NJ 08104



                    Haydon Bolts Inc.
                    1181 Unity Street
                    Philadelphia, PA 19124-3196



                    Health America
                    P.O. Box 6506
                    Carol Stream, IL 60197-6506



                    Health Industrial
                    Attn: Stephen Stabiner
                    Director of Auction & Appraisal Services
                    460 Irmen Drive
                    Addison, IL 60101
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                    Herbein & Co. Inc.
                    2763 Century Blvd.
                    Wyomissing, PA 19610



                    HILTI Inc.
                    P.O. Box 382002
                    Pittsburgh, PA 15250-8002



                    HR Evans Steel Co.
                    Bldg N. Unit #2
                    755 Boardman Canfield Road
                    Youngstown, OH 44512



                    IMAGEZE, Inc.
                    P.O. Box 151
                    Reading, PA 19603



                    Industrial Assets
                    Attn: Venice Gamble
                    Director of Legal & Business Development
                    11426 Ventura Blvd.
                    Studio City, CA 91604



                    Infra-Metals Co.
                    P.O. Box 409828
                    Atlanta, GA 30384



                    Internal Revenue Service
                    Cincinnati, OH 45999




                    Internal Revenue Service
                    1720 Hempstead Road
                    P.O. Box 10128
                    Lancaster, PA 17605



                    J Grady Randolph Inc.
                    P.O. Box 2128
                    Gaffney, SC 29342
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                    Jessi G's Enterprises, Inc.
                    1542 Philadelphia Street
                    Indiana, PA 15701



                    John F. Eberth Associated, Inc.
                    81 West Lake Shore Drive
                    Rockaway, NJ 07866



                    JV Warehouse Solutions
                    P.O. Box 3339
                    Fullerton, CA 92834-3339



                    Kelly Springfield Trucking
                    1300 Lower Road
                    P.O. Box 4066
                    Linden, NJ 07036



                    Kenvil United Corp
                    P.O. Box 32
                    Wharton, NJ 07885



                    L.W. Martin Truck Repair
                    152 W. Church Road
                    Lititz, PA 17543



                    Lamont Hanley & Associates, Inc.
                    Corp. Headquarters
                    1138 Elm Street
                    Manchester, NH 03101



                    Lancaster Foundry Supply Co.
                    2314 Norman Road
                    Lancaster, PA 17601



                    Lenovo Financial Services
                    21146 Network Place
                    Chicago, IL 60673-1211
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                    Leon D. DeMatteis Construction Corp.
                    820 Elmont Road
                    Elmont, NY 11003



                    Liedtka Logistics LLC
                    One PGT Way
                    Monaca, PA 15061



                    LNP Media Group, Inc.
                    P.O. Box 3999
                    Lancaster, PA 17604-3999



                    Local 11
                    12 Edison Place
                    Springfield, NJ 07081



                    Local 14-14B Fund Office
                    141-57 Northern Blvd
                    Flushing, NY 11354



                    Local 15
                    44-10 11th Street
                    Long Island City, NY 11101



                    Local 18
                    35-30 Francis Lewis Blvd.
                    Flushing, NY 11358



                    Local 40, 361 & 417
                    451 Park Avenue South 9th Floor
                    New York, NY 10016



                    Local 542
                    1375 Virginia Drive
                    Fort Washington, PA 19034
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                    Local 580
                    501 W. 42nd Street
                    New York, NY 10063



                    Local 825
                    65 Springfield Avenue
                    2nd Floor
                    Springfield, NJ 07081



                    Loomis Company- PCW
                    850 N Park Rd,
                    Wyomissing, PA 19610



                    Lowes Business Account/GECF
                    P.O. Box 530970
                    Atlanta, GA 30353-0970



                    LTC Inc.
                    1115 Inidustrial Drive
                    West Salem, WI 54669



                    Lynchburg Freight & Spec. LLC
                    2940 Fulks Street
                    Lynchburg, VA 24501



                    Macintosh Engineering
                    2 Mill Road
                    Suite 100
                    Wilmington, DE 19806



                    Mack Employment Services, Inc.
                    2834 Shillington Road RT 724
                    Reading, PA 19608



                    Marlin Business Bank
                    P.O. Box 13604
                    Philadelphia, PA 19101-3604
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                    MassMutual Financial Group
                    306 Kricks Mill Road
                    Robesonia, PA 19551



                    McMaster-Carr Supply Co.
                    P.O. Box 7690
                    Chicago, IL 60680-7690



                    Metals USA Plates & Shapes
                    P.O. Box 827110
                    Philadelphia, PA 19182



                    Michelle M. Smith, Esquire
                    Rothbard, Rothbard, Kohn & Keller
                    50 Park Place
                    Suite 1228
                    Newark, NJ 07102



                    Michelman-Cancelliere Iron Works, Inc.
                    7230 Beth-Bath Pike
                    Bath, PA 18014



                    Mike Sweigart Landscaping
                    306 Kricks Mill Road
                    Robesonia, PA 19551



                    Modular Space Corporation
                    12603 Collections Center Drive
                    Chicago, IL 60693-0126



                    Motco Logistics LLC
                    6547 Hollenbach Road
                    New Tripoli, PA 18066



                    Moyer Transport LLC
                    6547 Hollenbach Road
                    New Tripoli, PA 18066
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                    MPCC Corporation
                    81 Rockdale Avenue
                    New Rochelle, NY 10801



                    MSC Industrial Supply Co. Inc.
                    Dept CH 0075
                    Palatine, IL 60055-0075



                    Myron Bowling Auctioneers, Inc.
                    Attn: Craig Breetz
                    Business Development Coordinator
                    3901 Kraus Lane
                    Fairfield, OH 45014



                    New Jersey Galv & Tinning
                    139 Haynes Avenue
                    Newark, NJ 07114-2286



                    Nitterhouse Concrete
                    P.O. Box 2013
                    Chambersburg, PA 17201



                    NJ Dept. of Taxation
                    2 Riverside Drive
                    Suite 632
                    Camden, NJ 08103



                    Nobel Equipment & Supply Co., Inc.
                    1920 U.S. HWY #1
                    Linden, NJ 07036



                    NorthE Group, Inc.
                    60 E. 9th Street
                    New York, NY 10003



                    Northeast Gas Servics, Inc.
                    27 McDermott Place
                    Bergenfield, NJ 07621
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                    Northern Monmouth Regional Surgery Cent.
                    195 Route 9 South
                    Suite 210
                    Englishtown, NJ 07726



                    NYC Department of Finance
                    Parking Violations
                    Church Street Station
                    P.O. Box 3600
                    New York, NY 10008



                    NYS Dept. of Taxation
                    W.A. Harriman Campus
                    Albany, NY 12227



                    NYSTROM
                    NW 7845
                    P.O. Box 1450
                    Minneapolis, MN 55485-7845



                    Omega Steel Products, Inc.
                    P.O. Box 849
                    1147 County Road 48
                    Jemison, AL 35085



                    Owens Steel Company Inc.
                    727 Mauney Drive
                    Columbia, SC 29201



                    PA Department of Revenue
                    1 Revenue Place
                    Harrisburg, PA 17108



                    PA Turnpike
                    Toll By Plate
                    8000C Derry Street
                    Harrisburg, PA 17111
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                    Paul W. Minnich, Esquire
                    Barley Snyder
                    100 East Market Street
                    York, PA 17401-1219



                    PCL Construction Services, Inc.
                    6700 Forum Drive, Suite 100
                    Orlando, FL 32821



                    Penteledata
                    P.O. Box 401
                    Palmerton, PA 18071



                    PGT Trucking, Inc
                    One PGT Way
                    Monaca, PA 15061



                    Philadelphia Ball
                    P.O. Box 37015
                    Philadelphia, PA 19122-0715



                    Phillip W. Lamparello, Esquire
                    Gibbons P.C.
                    One Gateway Center
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                    Praxair Dist. Mid-Atlantic
                    P.O. Box 382000
                    Pittsburgh, PA 15250-8000



                    Premier Trailer Leasing
                    401 E. Corporate Drive
                    Suite 252
                    Lewisville, TX 75057



                    Print-O-Stat, Inc.
                    P.O. Box 15055
                    York, PA 17405-7046
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                    Quinco Contracting & Maint. Inc.
                    842 Arrowhead Lane
                    Harleysville, PA 19438



                    R&F Excavating Co. Inc.
                    821 Mountain Home Rd
                    Sinking Spring, PA 19608



                    R&R Wood Products, Inc.
                    P.O. Box 51065
                    Mainland, PA 19451



                    Reading Crane and Engineering
                    11 Vanguard Drive
                    Reading, PA 19606



                    Reading Eagle Company
                    P.O. Box 582
                    Reading, PA 19603-0582



                    Reading Electrical
                    80 Witman Road
                    Reading, PA 19605



                    Reading Hospital & Medical Center
                    Occupational Health
                    1000 Tuckerton Court
                    Reading, PA 19605



                    RED-D-ARC, Inc.
                    1513 S. Washington Avenue
                    Piscataway, NJ 08854-3815



                    Riverside Auto & Equipment
                    Sales, LLC & Towing Service
                    434 T. Bishiop Road
                    Jonesville, SC 29353
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                    Robert Half Finance & Account
                    P.O. Box 743295
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                    Ronstand Rods
                    45 High Point Avenue, Suite 2
                    Portsmouth, RI 02871



                    Saw Service & Supply, Inc.
                    11925 Zelis Road
                    Cleveland, OH 44135



                    Sherwin-Williams
                    1620 North 3rd Street
                    Reading, PA 19601



                    Sideplate Systems, Inc.
                    25909 Pala Suite 200
                    Mission Viejo, CA 92691



                    Solve it Solutions, LLC
                    711 Spring Street, Sute 101
                    Reading, PA 19610



                    Standard Bent
                    P.O. Box 469
                    Butler, PA 16003



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                    Dept PHL
                    P.O. Box 415256
                    Boston, MA 02241-5256
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                    Steel Dynamics Structural Div.
                    36260 Treasury Center
                    Chicago, IL 60669-4000



                    Stephen J. Hynes
                    c/o Ronald L. Israel
                    Chiesa Shahinian & Giantomasi PC
                    One Boland Drive
                    West Orange, NJ



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                    Reading, PA 19603-0679



                    Stradley Ronon
                    Stevens & Young, LLP
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                    Philadelphia, PA 19103-7018



                    Suburban Testing Labs
                    1037F Macarthur Road
                    Reading, PA 19605



                    Taylor Oil Company
                    P.O. Box 974
                    Somerville, NJ 08876



                    The Angell Pension Group, Inc
                    88 Boyd Avenue
                    East Providence, RI 02914



                    The Heavey Group, LLC
                    122 Lakewood Drive
                    Coatesville, PA 19320



                    The Rose Corporation
                    P.O. Box 15208
                    Reading, PA 19612
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                    Thornton Tomaestti, Inc.
                    P.O. Box 781187
                    Philadelphia, PA 19178-1187



                    Tishman Construction Company
                    100 Park Avenue, 5th Floor
                    New York, NY 10017



                    Torcon, Inc.
                    3401 Princeton Pike
                    Lawrence Township, NJ 08648



                    Total Quality Logistics
                    P.O. Box 799
                    Milford, OH 45150



                    Tri-State Shearing & Bending
                    366 Herzl Street
                    Brooklyn, NY 11212



                    Tru-Fit Products/Truweld
                    460 Lake Road
                    Medina, OH 44256



                    Tsiwen M. Law, Esquire
                    Law & Associated,L.L.C
                    One Penn Center, Suite 1055
                    1617 John F. Kennedy Boulevard
                    Philadelphia, PA 19103



                    Tutor-Perini Building Corp.
                    130 N. 18th Street, Suite 1500
                    Philadelphia, PA 19103



                    Uline
                    P.O. Box 88741
                    Chicago, IL 60680-1741
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                    UMOJA Erectors LLC
                    924 North 19th Street
                    Philadelphia, PA 19130



                    Uninsured Employers Fund
                    WCB Finance
                    328 State Street
                    Schenectady, NY 12305



                    United Concordia
                    P.O. Box 504.66
                    Philadelphia, PA 19182-7399



                    United Parcel Service
                    P.O. Box 7247-0244
                    Philadelphia, PA 19170



                    United Rentals
                    P.O. Box 100711
                    Atlanta, GA 30384



                    USABLE LIFE
                    Customer Accounts
                    P.O. Box 204678
                    Dallas, TX 75320-4678



                    Vanguard Cleaning Systems
                    121 N. Cedar Crest Blvd.
                    Allentown, PA 18104



                    Vectorshades, LLC
                    2010 Corporate Ridge
                    Suite 700
                    Mc Lean, VA 22102



                    Verizon
                    P.O. Box 25505
                    Lehigh Valley, PA 18002-5505
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                    Voss Engineering, Inc.
                    P.O. Box 88497
                    Chicago, IL 60680



                    Vulcraft of New York, Inc.
                    P.O. Box 500230
                    Philadelphia, PA 19182



                    Water Guy
                    2 East Point Drive
                    Birdsboro, PA 19508



                    Weinstock Brothers Corporation
                    140 E. Mineola Avenue
                    Valley Stream, NY 11580



                    Wells Fago
                    P.O. Box 5169
                    Sioux Falls, SD 57117



                    West Motor Freight
                    P.O. Box 62891
                    Baltimore, MD 21264



                    Wex Bank
                    P.O. Box 3440
                    Boston, MA 02241



                    Wilson School District
                    P.O. Box 7625
                    Lancaster, PA 17604



                    Wm. F. Comly & Son, Inc.
                    Attn: Stephen E. Comly, ASA
                    1825 E. Boston Street
                    Philadelphia, PA 19125
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                    Young's Certified Water
                    19 Overlook Drive
                    Ephrata, PA 17522



                    Youngtown Pipe & Steel, LLC
                    45 S. Montgomery Avenue
                    Youngstown, OH 44506-2965
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                                                               United States Bankruptcy Court
                                                                     Eastern District of Pennsylvania
 In re      Metropolitan Steel Industries, Inc.                                                              Case No.
                                                                                    Debtor(s)                Chapter     7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Metropolitan Steel Industries, Inc. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 D. Kent Hartley
 150 Timberline Lane
 Butler, PA 16001
 D. Michael Hartley
 26135 Fawnwood Court
 Bonita Springs, FL 34134




    None [Check if applicable]




 August 3, 2016                                                        /s/ Charles J. Phillips, Esquire
 Date                                                                  Charles J. Phillips, Esquire 39260
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Metropolitan Steel Industries, Inc.
                                                                       Leisawitz Heller Abramowitch Phillips, P.C.
                                                                       2755 Century Blvd.
                                                                       Wyomissing, PA 19610
                                                                       610-372-3500 Fax:610-372-8671




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